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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 02-14084-CR-MARRA/LYNCH

UNITED STATES OF AMERICA

NIGHT BOX
V. FILED
JOHN MACARI, MAY 39 2008 &
Defendant. _ ULARENCE MADDOX
/ CLERK, USDC/SDFL/FTL

 

DEFENDANT’S MEMORANDUM IN AID OF SENTENCING
INTRODUCTION

On November 6, 2002, the Defendant herein, John Macari, was charged by Information
with one (1) Count of Mail Fraud, in violation of 18 USC 1341, a Class D felony. The
Defendant pleaded guilty to the Information on February 28, 2003, in accordance with the terms
of a Plea Agreement executed by Mr. Macari and the government.

Pursuant to the Agreement, the Defendant agreed to provide the government with
information and testimony that may be helpful to the government. The government agreed to
file a motion pursuant to §5k1.1 and/or 18 U.S.C. §3553(e) on the Defendant’s behalf if the
Defendant's cooperation rose to the level of substantial assistance. It was further agreed that the
government would recommend the applicable reduction in the offense level (a 2 or 3 level
adjustment), based on the Defendant’s acceptance of responsibility and his level of assistance to

authorities in the investigation of his own misconduct.’

 

' Please see Exhibit “A” which is annexed hereto and incorporated by reference. Fh

> The PSR reflects a three-level reduction.
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The parties further stipulated that the applicable Sentencing Guideline range given the
facts herein was a level 15, and that the government would seek no fine against the Defendant.
Mr. Macari also agreed to pay full restitution in the amount of $1,600,000, less any amount not
previously credited to Mr. Macari. It was agreed that no downward or upward departures were
applicable, beside those applicable to the Defendant’s cooperation, though the Agreement does
not preclude the Court from exercising its discretion in view of recent changes in sentencing law.

Since pleading guilty in February of 2002, Mr. Macari has fully accepted responsibility
for his actions. This is evidenced by his plea and his subsequent letter of apology, which states
in pertinent part:

I fully, completely and unequivocally accept responsibility for the actions which

led to the charges against me and to which I pled guilty. I have learned my lesson

and I will never again be in trouble with the law. In an effort to help law

enforcement, I have agreed to cooperate with the FBI and the United State

Attorney’s Office, helping them uncover crime and prosecute those responsible

for it. I apologize to the Court and Government for my actions.’

Further, Mr. Macari has, in accordance with the Plea Agreement, provided substantial
assistance to the government. Mr. Macari has met with government agents and U.S. Attorney
James McAdams at least ten (10) times, has testified before the Grand Jury 3 times, and even has
spoken with Norwegian Officials to assist them in the investigation and prosecution of crimes in

that Country.’ Indeed, sentencing herein has been continued several times to accommodate Mr.

Macari’s continuing cooperation. Counsel for Mr. Macari has confirmed with AUSA McAdams

 

* Please see Exhibit “B” an excerpt of the PSR which is annexed hereto and incorporated by
reference.

* A copy of the letter confirming Mr. Macari’s assistance to Norwegian authorities is annexed
hereto as Exhibit “C.”
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that he is recommending issuance of the motion pursuant to 5k1.1 to his supervisor on the basis
of Mr. Macari’s substantial assistance to authorities.

In its Presentence Investigation Report, hereafter “PSR,” Probation recommended a total
offense level of 17, rather than the stipulated offense level of 15, due to a 2-level adjustment for
more than minimal planning pursuant to §2F1.1(b)(2). The Defendant objected to the two-point
adjustment because the parties agreed in the plea agreement that it did not apply. AUSA
McAdams has authorized counsel to state that his position also remained in conformity with the
plea agreement. This is reflected in Probation’s Addendum to the PSR, and in paragraph 80 of
the final submitted PSR.

In addition, the Supreme Court’s recent decisions in Blakely v. Washington, 2004 WL
1402697; Booker/Fanfan,125 S.Ct. 738 (2005), and its progeny, support the conclusion that the
two-level enhancement for more than minimal planning should not be applied since it is an
enhancement on the basis of facts to which the Defendant did not specifically plead. It is
therefore urged that the Court, when determining the applicable Sentencing Guideline Range,
apply a total Offense Level of 15. See also U.S. v. Crosby, 2005 WL 240916 (2" Cir. 2005).

Mr. Macari agreed not to seek any downward departures, other than those authorized by
the government’s motion pursuant to §5k1.1, herein pursuant to his plea agreement. However,
the Court is now saddled with authority to consider factors previously couched in terms of
“downward departures,” in structuring a “reasonable sentence, as is now within the Court’s
purview.” See generally Booker and Crosby. Probation did not recommend downward
departures on the basis of Defendant’s age or health, nor his extraordinary acceptance of
responsibility. However, it is respectfully urged that the Court consider these factors when

exercising its discretion in structuring its sentence herein.

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The following Memorandum in Aid of Sentencing is submitted, pursuant to Rule 32 of
the Federal Rules of Criminal Procedure, in support of John Macari’s arguments that: (1) the
Defendant’s extraordinary acceptance of responsibility and related assistance to the government
warrant a sentence well below that suggested by the Sentencing Guideline range of 18-24
months based on the total appropriate adjusted offense level of 15; to wit, a sentence of
probation; (2) the Defendant’s age and related health problems mitigate in favor of the Court’s
exercising its discretion by imposing a probationary sentence; (3) these factors combined, when
viewed in light of the policy behind them, mitigate in favor of the Court’s exercising its
discretion by imposing a probationary sentence; and (4) should a sentence of imprisonment be
imposed, a voluntary surrender is appropriate.

PERSONAL BACKGROUND OF DEFENDANT, JAMES MACARI
John Macari shall turn 76 years old on June 24th of this year. He was born in 1929 in
Hartford, Connecticut, to Patrick and Josephine Macari, both of whom are now deceased. Mr.
Macari was the oldest of four children.

The Defendant’s father was a welder. Despite his hard work, the family was poor,
having only its basic needs met by their father’s income. As stated by the Defendant’s brother,
Joseph Macari:

Our parents worked hard when we were kids, but times were tough. There often

was not enough money to pay all the bills and feed a large family. John, the

oldest child, had to leave school and get jobs to bring in extra money. John

always had a part-time job from paper routes, shoveling snow, to working at the

five and dime to help bring in much needed extra money. John also always
helped out around the house....°

 

> A copy of Joseph Macari’s letter to the Court is annexed hereto as Exhibit “D.”

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It was for this reason that the Defendant never had the luxury of attending college. Rather, he
went to work immediately following his graduation from high school. This is confirmed by the
Defendant’s sister, Maryann Lynch, who observes:

Our family went through some hard times; tight finances put a strain on
the entire family. John sacrificed school and was deprived most aspects of
anormal childhood to help the family by working and taking care of my
brother (Joe) and myself.®

The Defendant’s devotion to his family’s well-being was so complete that he did not
move out of his home until he was wed on September 6, 1952, to Shirley Stavola, the
Defendant’s first and only love. The Macari’s remained married for 51 years, until Shirley’s
death on August 2, 2003 of a brain tumor.

However, even with a family of his own to support, the Defendant never forgot his role
within the greater Macari family. As stated by his brother, Joseph:

As we got older, and John became somewhat successful in business, John helped

our parents financially. He paid some of their bills and always was there when

one of them was sick or needed help ... John was the rock who everyone in the
family turned to for emotional, financial, and personal help.’

He adds:

For myself, John has helped me financially and personally more times than I can
remember. John made it possible for me to buy my first house. He found the site,
built and paid the down payment on my first house. John knows that I live on a
small fixed income. Again, John has been there for me each and every time I
have needed help. His efforts have been directly responsible for me to
supplement my monthly income and thus, live with a modicum of comfort in my
senior years.

 

© A copy of Maryann Lynch’s letter to the Court is annexed hereto as Exhibit “E.”

7 See Exhibit “D.”
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The Defendant truly has been the patriarch of the Macari clan, in its purest sense. His
impact on the family extends down to the youngest generation. As explained by his sister:

John never has to be asked twice for help. He has always been there for me and
my children-no matter what the situation. He has been a wonderful grandfather
figure to my children and their children. He has been as caring and dependable to
my children as he was to us while growing up...°

The Defendant was obviously blessed with a loving family-life — one that he worked very

hard to foster. As stated by his son, Stephen:

I love my father without reservation and believe he loves my son and me
unconditionally.

My father is the kind of man who is not afraid to let you know how he feels. My
father was always very affectionate with my mother, brother and me: we laughed,
hugged and cried together. I will always remember that my father taught me that
all feelings were O.K. As such, my childhood was filled with good, strong,
loving memories. We were a close family: If there was a problem or something

sad, or even something joyous, we talked about it, laughed about it, celebrated it,
and worked it out...’

The Defendant’s kindness has reached beyond his blood-line to a larger family of friends,
all of whom have been touched by him. This includes fourteen (14) year-old Chance M.
Gorman, the son of the Defendant’s employee, Robert L. Gorman. Chance suffers from cerebral
palsy. He writes:

I have known John about three years. My father was working for John and John

would allow me to come to work with my father sometimes ... I do my

schoolwork - I am Home-Schooled by my father - in a private office...

Mr. Macari has been very nice to me. He doesn’t treat me like a dumb kid, but

actually will talk with me. He also has been very concerned and interested in my
Cerebral Palsy ... He never makes fun of me and always treats me with respect .
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See Exhibit “E.”
” A copy of Stephen J. Macari’s letter to the Court is annexed hereto as Exhibit “F.”

'° A copy of Chance M. Gorman’s letter to the Court is annexed hereto as Exhibit “G.”

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Chance’s father, Robert Gorman, elaborates:

Personally, Mr. Macari has helped me when I have had difficult times. I am

currently undergoing treatment for a serious illness. Mr. Macari has been there

for me: He has accommodated my hectic schedule filled with Doctor

appointments and allows me to bring my fourteen-year-old son (who suffers

hemiplegic cerebral palsy) to the offices while consulting. His kindness and
generosity are greatly appreciated by my son and myself..."

The Defendant is also charitable to those in need with whom he has no personal
connection, other than a shared humanity. As his friend, Charles Clark, observes:

John is a generous and charitable man. He donates regularly to Saint Jude’s

Church in Jupiter and Tequesta. Whenever we have traveled together, John is the

type of person who always has a spare dollar for the needy.... Case in point: He

will often donate a few dollars to a homeless person... John insists on giving the

homeless person some money, say a prayer, and hope the contribution helps the

poor person in some small way...

In summation, John Macari is a very professional, generous, and kind person. My

life and the lives of those he regularly helps, are richer, better, and happier for

having known him.”

For all his charity and family devotion, the Defendant has recently been stricken with
tragedy. As stated earlier, John has been devastated by the loss of his wife, Shirley, to whom he
was utterly devoted. Shirley first fought lung and esophagus cancer, both of which went into
remission. However, she was then diagnosed with a brain tumor and succumbed to it after
fighting for eight months. John was at his wife’s side for the duration of her illnesses, refusing
to send her to the hospital, preferring to care for her himself at home with the help of an aid.

John and Shirley Macari had two children together, Stephen and Mark, both of whom

work for Macari Development. The boys remain very close to their father, as documented by

Stephen’s letter, referenced above. The Defendant was shamed by his disclosure of the events

 

'' A copy of Robert L. Gorman, J.D., M.S.’s letter to the Court is annexed hereto as Exhibit “H.”
'? A copy of Charles Clark’s letter to the Court is annexed hereto as Exhibit “T”

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herein to his boys, and only revealed this matter to them recently, out of a desire to shield them
from any pain or embarrassment that it might cause them.

Mr. Macari had been employed in real estate development throughout the majority of his
life. This led, in 1988, to the formation of Jamar Enterprises. Through this company, Mr.
Macari provides financial consulting services to companies seeking financing for large
construction projects. Jamar Enterprises has been very successful in assisting his clients in
obtaining financing. Despite his companies’ successes, however, Mr. Macari has been
consumed by his wife’s illnesses and ultimate loss.

Further, the Defendant has suffered from his own health problems over the last ten years.
Mr. Macari has suffered two heart attacks, one in 1995 and another in 2000. He has had four
stints placed in his heart, and was in and out of the hospital until the end of 2004 due to related
complications.’ | Mr. Macari continues to suffer on a daily basis from cardiac related
complications. According to Mr. Macari, his heart “races like a drum.” Even while resting, he is
short of breath and is unable to lower his heart rate. Further, the Defendant suffers from diabetes
melitis, or adult onset diabetes. Because he suffers from diabetes melitus, his vision has
significantly decreased in recent years. He rarely drives himself and no longer drives at night.
To control his various health difficulties, Mr. Macari presently takes many prescription
medications. These include: glucophage, lipitor, lopressor, zestril, glucotrol and Avandia.
Because Mr. Macari lives alone he is unable to get a full night of sleep as he is afraid that
something might happen to him because of his deteriorating health and that nobody would be

near him to assist.

 

'S A copy of a portion of Mr. Macari’s health records are annexed hereto as Exhibit “J.”

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Mr. Macari suffers from bouts of depression. The pending criminal charges, watching his
wife of fifty-one (51) years slowly die from a painful and debilitating form of cancer and his
own health problems have all contributed to this condition.

THE DEFENDANT’S CONDUCT HEREIN

As stated above, Mr. Macari has pleaded guilty to one count of Mail fraud, in violation of
18 USC 1341. He has readily accepted his responsibility in the charged conduct and has
assisted law enforcement not only here in the United States, but also the authorities in Norway,
to investigate and prosecute illegal activity here and abroad. This assistance surpassed the
requirements of the plea agreement and evidences Mr. Macari’s extraordinary acceptance of
responsibility.

Mr. Macari has been humiliated and saddened by his actions herein. He asks the Court
to consider his crimes against his subsequent attempts to remediate his wrongs and against the
framework of his prior extraordinary and exemplary life.

SUMMARY OF THE ARGUMENT

Even in the pre-Booker/Fanfan era, a district court was required to impose
sentence in light of a number of sentencing factors, including those set forth in 18 U.S.C. § 3584
and 18 U.S.C. § 3553(a). Viewing the totality of circumstances present in a given case, the
district court has traditionally been tasked with imposing no greater punishment than is
necessary to further the statutory objectives of sentencing. Indeed, The Sentencing Reform Act
of 1984, Pub. L. No. 98-473, § 211, 98 Stat. 1987, 1989-90 (1984) requires that courts “impose a
sentence sufficient, but not greater than necessary,” to comply with the purposes of criminal

punishment. 18 U.S.C. § 3553(a).
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Booker/Fanfan and Crosby require District Courts to consider the policy statements of the
Sentencing Commission in formulating and imposing a sentence. The prohibition against
overly severe sentences is thus still relevant. Now, however, the sentencing Court has greater
leeway to enforce such policy in a manner that is reasonable on a case-by-case basis. For the
reasons stated below, a reasonable sentence herein is either probation or home-detention.

I. The Court Should Exercise its Discretion and Impose a Sentence of Probation or
Home Detention

The Sentencing Reform Act defines the legitimate purposes of sentencing. 18 U.S.C. §
3551(a) requires that every defendant “shall be sentenced...so as to achieve the purposes set
forth in subparagraphs (A) through (D) of § 3553(a) (2) to the extent that they are applicable in
light of all the circumstances of the case.” To wit:

(A) to reflect the seriousness of the offense, to promote respect for the law, and to
provide just punishment for the offense;
(B) to afford adequate deterrence from criminal conduct;
(C) to protect the public from further crimes of the defendant;
(D) to provide the defendant with needed educational or vocational training,
medical care, or other, correctional treatment in the most effective manner.
Our sentencing scheme has thus been defined by Congress as having four traditional
justifications — deterrence, incapacitation, retribution, and rehabilitation.
In fashioning the appropriate sentence in light of these justifications, courts must consider:
(a) “the nature and circumstances of the offense and the history and characteristics of the
defendant”; (b) ‘“‘the kinds of sentences available”; (c) “the kinds of sentence and the sentencing
range established” by the guidelines; (d) “the need to avoid unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar conduct”; (e) “any

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Thus, at this point, we can identify several essential aspects of Booker/-Fanfan

that concern the selection of sentences. First, the Guidelines are no longer

mandatory. Second, the sentencing judge must consider the Guidelines and all of

the other factors listed in section 3553(a). Third, consideration of the Guidelines

will normally require determination of the applicable Guidelines range, or at least

identification of the arguably applicable ranges, and consideration of applicable

policy statements. Fourth, the sentencing judge should decide, after considering

the Guidelines and all the other factors set forth in section 3553(a), whether (i) to

impose the sentence that would have been imposed under the Guidelines, i.e., a

sentence within the applicable Guidelines range or within permissible departure

authority, or (11) to impose a non-Guidelines sentence. Fifth, the sentencing judge

is entitled to find all the facts appropriate for determining either a Guidelines

sentence or a non-Guidelines sentence.
Crosby at 113.

The Court may consider the calculated guideline range or simply impose a
non-guidelines sentence altogether. The Judge’s determination is reviewed for its
“reasonableness.” See Booker: See also Crosby.

Further, the Court may consider the policy behind previously applied,
“downward departures” to determine whether those considerations are applicable in
imposing a sentence below the calculated guideline range or in fashioning a
“reasonable” sentence as an exercise of discretion. The policy behind Departures on
the basis of age and physical condition pursuant to U.S.S.G. §§5H1.1 and 5H1.4 are
accordingly pertinent herein, not as basis for a “departure” in the classic sense, but
more as a basis for the Court to exercise its discretion in imposing a sentence of
probation.

In U.S. v. Gigante, 989 F.Supp. 436 (E.D.N.Y.,1998), the Court explored
various cases wherein sentencing Courts permitted departures on the basis of age

and fragility, as per. U.S.S.G. §§ 5H1.1, 5H1.4. These cases included: U.S. v. Rioux,

97 F.3d 648, 662-63 (2d Cir.1996), wherein defendant's medical condition resulting

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from a kidney transplant coupled with his prior civic good deeds permitted a ten
point downward departure); U.S. v. Moy, 1995 WL 311441, at *25-29, *34 (N.D. IIL.
May 18, 1995) wherein a downward departure was granted based upon defendant's
advanced age, 78, aggravated health condition, and emotionally depressed state;
U.S. v. LiButti, 1994 WL 774647, at *10 (D.N.J. Dec.23, 1994), wherein a downward
departure was granted when "defendant's combination of physical and mental
conditions present an extraordinary situation in which prison life may be
significantly harder to endure."

In Moy, the Court recognized that prison is very difficult for the elderly and
could serve to shorten an older person’s life. The Court therefore departed from the
requisite Guidelines range on the basis that, "Defendant's fragile physical state, his
advanced age, and a court's duty not to impose sentences that are excessively cruel
argue strongly for a downward departure.” Moy at 29.

Mr. Macari urges that the his advanced age and deteriorating health
mitigate in favor of a probationary sentence as outlined above. Although he may
not have qualified for a “downward departure” on this basis under the traditional
“heartland” analysis, the Court should consider his health and age in exercising its
discretion to fashion a reasonable sentence herein. Defendant urges that a life-
sentence, as any incarcerative sentence might be given Defendant’s age and health
problems, would be excessive under the circumstances herein.

Additionally, Mr. Macari’s extraordinary assistance to law enforcement, both

here and abroad, mitigates in favor of a probationary sentence. It is well-settled

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public policy to reward such assistance to encourage future cooperation. The extent
of Mr. Macari’s assistance to the authorities, both here and abroad, should earn him
considerable credit. Mr. Macari’s assistance to law enforcement, evidences Mr.
Macarrs extraordinary acceptance of responsibility. In those cases where such
acceptance has been recognized as extraordinary, additional reductions of sentence,
beyond the two-point or three point reductions per U.S.S.G. 3E1.1 have been
authorized. U.S. v. Stuart, 384 F.3d 1243, (C.A.11 (Ga.) 2004) (a " ‘truly
extraordinary post-arrest pre-sentence [rehabilitation] may exceed the degree of
rehabilitation] contemplated in section 3E1.1 and therefore justify a downward
departure,'" (quoting U.S. v. Williams, 948 F.2d 706, 710-11 (11th Cir.1991))).

The Sentence Herein

It is urged that Probation is an appropriate sentence for Mr. Macari. It is not
necessary to deter the Defendant from further criminal conduct. He has learned his lesson and
has attempted to right his wrongs. His embarrassment at having been arrested has served the
purpose of deterrence and incapacitation on its own.

Further, the Defendant is not in need of rehabilitation. At almost 76 years of age, the
Defendant, knows full well the benefits of working within the bounds of the law and he wishes
to remain there. Defendant’s current business interests are both legal and successful. Society’s
interest in rehabilitation has been served.

Mr. Macari requires treatment for his heart condition and diabetes, which he
fears can not be adequately addressed within the Bureau of Prisons. If these

conditions are not addressed properly, Mr. Macari’s life is indeed at risk.

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For all of these reasons, a sentence of probation is urged as being most
appropriate. Such probation would adequately punish the Defendant for his
conduct, yet encourage future Defendants to cooperate with law enforcement.
However, should the Court deem probation inappropriate, then home-detention is
urged so that the Defendant may receive adequate medical treatment, be close to
his children and grand-children, and not be a burden on the BOP, which would
struggle to adequately serve Defendant’s and physical needs..

Voluntary Surrender Is Proper

Given that Mr. Macari has been exemplary in complying with the strictures of his
release, it is respectfully requested that Your Honor allow him to surrender directly to his
designated facility if the Court, indeed, imposes a sentence of incarceration. This would allow
the Defendant: to wrap up his financial affairs and an opportunity to say good bye to his children
and grand-children.

CONCLUSION

WHEREFORE, it is respectfully requested that the Court grant the relief requested

herein, as well as any other relief that it may deem necessary and proper.

RICHARD G. LUBIN, P.A.

Second Floor, Flagler Plaza

1217 South Flagler Dive

West Palm Beach, Florida 33401
Telephone: 561/655-2040

Facsimile: 561/655-2812

Attorneys for Defendant John Macari

   

RICHARD G. LUBIN
Florida Bar No. 182249

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true copy hereof has sent via overnight delivery to James
McAdams, Esq., Assistant United States Attorney, P. O. Box 2497, Ft. Pierce, FL 34954; and to
Patricia Borah, U.S. Probation Officer, 501 S. Flagler Drive, Room 400, West Palm Beach, FL

33401, this }A™ day of May, 2005.
a N
I
By: ~- ~~

RICHARD G. LUBIN

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AGREEMENT TO WAIVE INDICTMENT i
AND TO PLEAD GUILTY TO INFORMATION

The United States Attomey’s Office (USAO) for the Southern District of Florida, through
the undersigned Assistant United States Attorney, and JOHN MACARI (hereinafter referenced
as “Macari" or "the defendant”), with full advice and counsel of his undersigned attomey, enter
into the following agreement:

l. The defendant agrees to waive his right to be charged by an indictment returned
by the grand jury and agrees to be charged by way of information filed by the United States
Attomey. The defendant further agrees to plead guilty to a one-count Information charging him ||
with wire fraud in violation of 18 U.S.C. §§ 1343 and 2.

2. The defendant is aware that the sentence will be imposed in conformity with the

Federal Sentencing Guidelines and Policy Statements (hereinafter “Sentencing Guidelines” or |

“Guidelines”), and that the applicable guidelines will be determined by the court relying in part

on the results of a Pre-Sentence Investigation (PSI) by the court’s probation office, which
investigation will commence after the guilty plea has been entered. The defendant is also aware
that, under certain circumstances, the court may depart from the applicable guideline range and
impose a sentence that is either more severe or less severe than the guidelines range. The
defendant is further aware that the Sentencing Guidelines do not provide for or permit parole.
Knowing these facts, the defendant understands and acknowledges that the court has the
authority to impose.any sentence within and up to the statutory maximum authorized by law for
the offense identified in paragraph | and that the defendant may not withdraw his guilty plea -
solely as a result of the sentence imposed.

3. The defendant also understands and acknowledges that the statutory maximum

 

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EXHIBIT “A”

 

 

 
 

 

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term of imprisonment upon conviction of a violation of 18 USC §1343 is five (5) years of
imprisonment, followed by a period of supervised release not to exceed three years, and that the
court may impose a maximum fine of $250,000. |

4. The defendant further understands and acknowledges that, in addition to any
sentence imposed under paragraph 3 of this agreement, the Court must also order that a special
assessment in the amount of $100 be imposed on the defendant. The defendant agrees that he
will pay that special assessment at the time of sentencing.

5. The defendant agrees that he will cooperate fully with the United States
Attomey’s Office for the Southern District of Florida ("USAO") by providing truthful
information and testimony if called upon by the USAO to testify in a grand jury proceeding or
trial. The USAO reserves the right to evaluate the nature and extent of the defendant's
cooperation and to make the defendant's cooperation, or lack thereof, known to the court at the
time of sentencing. [n addition, if in the sole judgment of the USAO the defendant's cooperation
is of such significance to the investigation and prosecution of this and other criminal matters so
as to warrant the court's departure from the sentence required by the guidelines and/or the statute,
the USAO may make a motion pursuant to Section 5K1.1 of the Sentencing Guidelines reflecting
that the defendant has provided substantial assistance. The defendant acknowledges and agrees,
however, that nothing in this Agreement may be construed to require the USAO to file such 2
motion.

6. The USAO reserves the right to inform the court and the probation office of all
facts pertinent to the sentencing process, including all relevant information concerning the

offenses committed, whether charged or not, as well as concerning the defendant and the

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defendant’s background. Subject only to the express terms contained in this agrevinent, the
USAO further reserves its right.to make any recommendation to the Court as to the quality and
quantity of punishment,

7. The USAO acknowledges that defendant Macari has provided timely notice of his
intent to plead guilty, thereby obviaung the necessity to prepare for tial. Subject to the
requirement that the defendant clearly demonstrate to the U. S. Probation Office his acceptance
of responsibility for his participation in his offense, and contingent upon defendant’s full
compliance with the terms and conditions of this agreement, the USAO agrees to recommend
that defendant Macari be accorded a decrease of two offense levels pursuant to USSG §3E1.1(a)
and, if eligible, an additional one level decrease pursuant to USSG §3E1.1(b). The defendant
understands, however, that such recommendation is not binding on the probation office or the
court. The defendant further acknowledges that the United States will not be required to make
this sentencing recommendation if the defendant: (1) fails or refuses to make full, accurate, and
complete disclosure to this Office and the probation office of all of the circumstances
surrounding the relevant offense conduct and the defendant’s present financial condition; or (2)
commits any misconduct after entering into this plea agreement, including but not limited to

committing a state or federal offense, violating any term of release, or making false statements or

 

misrepresentations to any governmental entity or official.

8. The defendant acknowledges his understanding and agreement that, if for any
reason he fails to comply with the any of the provisions of this agreement, he will thereby waive
any protection afforded by Section 1B1.8(a) of the Sentencing Guidelines as wel] as any

protection afforded by Rule 11(e)(6) of the Federal Rules of Criminal Procedure. In that event,

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the defendant understands and agrees that any statements nade by the him under this agreement
or as part of any plea discussions or as part of any attempted or actual cooperation with the
USAO will be fully admissible against him in any civil or criminal proceedings, notwithstanding
any prior agreement with the USAO.
9. The defendant is aware that the sentence has not yet been determined by the court.
The defendant also is aware that any estimate of the probable sentencing range or sentence that
the defendant may receive, whether that estimate comes from the defendant’s attorneys, the
USAO, or the probation office, is a prediction, not a promise, and is not binding on the USAO,
the probation office, or the court. The defendant understands further that any recommendation
that the USAO makes to the court as to sentencing, whether pursuant to this agreement or
otherwise, is not binding on the court and that the court may disregard the recommendation in its
entirety. The defendant understands and agrees, as previously acknowledged in paragraph 2
above, that the defendant may not withdraw his plea based upon the court’s decision not to
accept a sentencing recommendation made by the defendant and/or the USAO, or due to the
defendant’s dissatisfaction with the sentence ultimately imposed by the Court.
* 10. The defendant is aware that Title 18, United States Code, Section 3742 affords

him the right to appeal the sentence imposed in this case. Acknowledging this, in exchange for

_ the undertakings made by the United States in this plea agreement, the defendant hereby waives
all rights conferred by Title 18, United States Code, Section 3742 to appeal any sentence
imposed, including any restitution order, or to appeal the manner in which that sentence was
determined, unless (1) the sentence exceeds the maximum permitted by statute, or (2) the
sentence is the result of an upward departure from the guideline range the court establishes at

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sentencing. The defendant further understands that nothing in this agreement shall affect the
USAO’s right and/or duty to appeal as set forth in 18 U.S.C. § 3742(b). If the United States
appeals the defendant’s sentence pursuant to Section 3742(b), the defendant shall be released
from the above waiver of appellate nghts.

11. The USAO and the defendant stipulate to the following facts concerning the
scheme and artifice devised and/or executed in the Southern District of Florida, and elsewhere,
by the defendant and others with the intent to defraud and to obtain money or property by means
of false or fraudulent pretenses, representations, or promises:

In 1998 and 1999, defendant Macari, George Manter, and other persons more
fully identified below, collaborated to defraud several individuals of moneys and
fees paid by those victims to Manter and Macari for placement in a so-called
high-yield investment program. As part of the scheme, Manter and Macari
represented to the investors that Macani was the owner, or otherwise had
exclusive control, of United States Treasury Bills (T-bills) with a face value that
varied from $100 million to over $1 billion. According to the scheme, Macari, in
exchange for a fee paid by the investor, would execute an assignment of T-bills to
the investor, which T- bills would serve as collateral to protect the principle
invested by those wishing to participate in the high-yield investment program.

In another permutation of the scheme, Macari would agree that, for a fee, he
would, in essence, “lease” T-bills to a person seeking a large commercial loan, but
who lacked the requisite collateral for that loan. According to the scheme, and as
represented by Macari, those T-bills would serve as collateral for a letter of credit
that could then be used to obtain a loan from a bank. »

As proof of Macari’s ownership of these T-bills, Macari provided, inter alia, (1)
an alleged assignment of the T-bills from Dr. John and Dr. Jeanmarie Juncal to
Century Capital (Marcari’s corporation); (2) an attestation by at least one attorney
of the authenticity of the CUSIP numbers assigned to the T-bills and of the lack of
public record as to any liens or encumbrances on those T-bills; and (3) safe
keeping receipts (SKRs) from an Italian investment company reflecting the
existence and authenticity of the T-bills in question. In certain instances, he also
told investors that Deutsche Bank would endorse the SKRs.

The Cusip numbers that were provided to the victims were, in fact, valid CUSIP
numbers for existing Treasury Bills. Moreover, Macari and Manter advised
several persons that these CUSIP numbers could be verified by checking with the

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Bloomberg web site on the Intemet. What they did not explain, however, -vas
that the information on the Bloomberg page confirmed only the existence, but not
the ownership, of a particular T-Bill

The evidence shows that the T-bills and CUSIP numbers that form the basis of the
fraud in this case were referenced as collateral in various fraudulent transactions
initiated in the mid 1990's by Dr. John and Dr. Jeanmarie Juncal. In the late
1990's, the Juncals and defendant Macari were introduced to each other by
Edward Price. Price was the owner of Price Capital, Inc., located just outside of
Atlanta, Georgia, and had become involved with the Juncals in the effort to
market the use of T-bills that the Juncals allegedly owned or controlled as
collateral for loans.

After his introduction to the Juncals, Macari claimed to various investors in this
case that he purchased T-bills from the Juncals with a total face value in the
hundreds of millions of dollars. Initially, Macari would offer these T-bills, for a
fee, for use by the investors as collateral to be leveraged in one manner or another
for funding of commercial loans. One method suggested by Macari was the
pledging of the T-bills in exchange for a letter of credit (LOC), which LOC could
then be used to obtain funding from a bank. However, because there was no
proof of Macari’s ownership/control of the T-bills, and therefore none that could
be used by the victims to leverage a loan as promoted by Macari, Macari’s and
Manter’s "clients" were unable to obtain the loans that they sought.

Expert testimony would reveal that, virtually without exception, proof of
ownership of a T-bill would be reflected in an account statement for the bank or
financial institution account where that T-bill is being held. Such account
statement would reflect the face amount of the T-bill, the date issued, the maturity
date, the CUSIP number, and, of course, the identity of the owner(s) of the
account. Macari could not show such an account statement, however, for the
simple reason that he never owned or otherwise had contro} of these T-bills.

To overcome that hurdle, Macari initially atteropted to convince his investors of
his ownership/control of the T-bills by providing the investors with "safe keeping
receipts" (SKRs) purportedly issued by an escrow agent. These SKRs were not
issued by any bank or other reputable and easily contacted business entity.
Rather, the primary purported "escrow agent" and issuer of SKRs that Macari
used was Milton Brothers, Ltd. (MBL) of Rome, Italy. The FBI’s investigation
has revealed that MBL is well-known to law enforcement in Italy as being

- engaged in various fraudulent financial activities. That investigation has also
revealed that, in November 1999, MBL filed an application with the Department
of Treasury, Bureau of Public Debt (BOPD), in which MBL claimed to be the
lawful owners of certain T-bills that it had received from JAMAR Enterprises
(JAMAR), Macari’s corporation.

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Included with that application was documentation signed by John Macari averring
ownership of those same T-Bills by JAMAR and purporting to transfer them to
MBL. Also included with that application was a swom affidavit by an attorney,
William E. Corley, of Stuart, Florida, in which he certified that the T-bills that
were the subject of MBL’s application had previously been owned by Red Rock
Dragon (RRD - a company owned by the Juncals), that RRD had assigned those
T-bills to Price Capital Corporation (PCC - owned by Edward Price, a Macari
business associate), and that PCC had assigned those T-bills to JAMAR. The
BOPD rejected that application due to its awareness of allegedly fraudulent
activities in which John Macari had previously engaged.

Those investors who attempted due diligence of Macari and the financing that he
proposed, quickly encountered the ownership/control hurdle. Like anyone with
access to a computer, those persons, or their legal counsel, were able to confirm
the existence of those T-bills and CUSIP numbers through the Bloomberg web
page; however, they were unable to confirm ownership or possession of the
underlying T-bills. Most were nevertheless convinced of Macari’s bona fides
upon receipt of the SKR’s.

In an effort to enhance the indicia of his ownership of the T-bills that were at the
heart of his fraudulent scheme, Macari, in early 2000, opened a Treasury Direct
account with the Treasury Department’s BOPD in the name of Century Capital,
Inc., one of his corporations. He then attempted to transfer several T-bills into
that account by preparing and executing a U.S. Treasury Form PDF5179 that
purported to transfer the T-bills from the Juncals 10 Century Capital, Inc. The
defendant forged the signature of Dr. Jeanmarie Juncal on that form; however,
even if Dr. Juncal had executed the form herself, such document could not have
served as the basis for a transfer of the T-bills into Macari’s account at BOPD
inasmuch as the Juncals had no proof of ownership of those instruments.

As a jurisdictional matter, the government’s evidence, in the form of official
government records and testimony of James Kramer-Wilt, General Counsel of the
Bureau of Public Debt, shows that the previously-described scheme to defraud
was executed through various methods of communication by Macari and Manter,
between themselves, and with the victims. One such method of communication
was the use, either by or caused by Macari and/or Manter, of the telephone lines

) for vaice and facsimile communications. In addition, on or about April 6, 2000,
Macari mailed, or caused to be mailed, from Palm City, Florida, to the Federal
Reserve Bank in Jacksonville, Florida, an application for a Treasury Direct
Account in the name of Red Rock Dragons. Finally, in or about December 1999,
the defendant caused to be mailed by a private interstate courier, from Rome,
Italy, to Washington, D.C., USA, an application for a Treasury Direct Account in
the name of Milton Brothers, Ltd.

 

In or about September 1999, defendant Macarj and George Manter discussed a

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joint venture between JAMAR Enterprises, Inc., Macari’s corporation, and
International Banque Holding Corp., Manter’s corporation, to induce participation
of various persons in a high yield investment program sponsored by Manter.
According to the plan, defendant Macari would provide collateral in the form of
T-bills for the investors’ funds placed into a bank debenture trading program.
According to Macari, the T-bills were being held by Milton Brothers, Ltd., an
Italian corporation, which company had issued safe keeping receipts (SKRs)
reflecting that Milton Brothers was holding the T-bills. Defendant Macari also
represented that, for $50,000, he arranged for Milton Brothers to obtain
endorsements of those SKRs from Deutsche Bank. Macari never produced such
documents, however. On September 7, 1999, Macari and Manter executed an
agreement for the sharing the proceeds of the joint venture. That agreement
specified, arnong other things, as follows:

Q) that Manter had contacts who were "capable of performing
high yield investments;"

Gi) that Macari had United States Treasury Bond CUSIP Nos.
912810DW5(B), 91281 0D W5(E), 912827X49(F), and
912827X49(G), each with a face value of $100,000,000
and “capable of collateralizing high yield investments;"

(tii) | that Macari would obtain “Safekeeping Receipts" and
“Reserve T-bond letter from Milton Brothers, Ltd., and a
Deutsche Bank confirmation

As the result of the efforts of Manter and Macari, several victims wrote checks or
otherwise transferred funds to Manter’s account at Planter’s National Bank for
placement in Macari’s investment program. The total amount of those payments
by the victims was $2,800,000. In tum, Manter transferred a portion of those
funds to Macari, that is, $910,000, purportedly to obtain use of the T-bills as
collateral for investor funds. At no time did Macari provide T-bills or any other
legitimate or verifiable collateral for those investors’ funds. Nor did Macari or
Manter ever place any of these investors’ funds into an investment program.
None of these investors ever received any proceeds whatsoever from any so-
called high yield investment program.

To date, a total of $1,200, 000.00 of the victim’s payments to Manter have been
refunded to the victims. Thus, the net loss to the victims is $1,600,000.

As further evidence of defendant Macari’s criminal intent in the instant offense, °
the USAO would offer evidence, pursuant to Federal Rule of Evidence 404(b)
that, as early as 1997, Macari offered another William Cornell the use of these
same T-bills as collateral for a high yield investment program. Cornell had
previously been seeking funding through a Norwegian businessman named

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Christian Mohr and, in correspondence from Mohr had noted the reference to
Macari at a U.S. phone number. He called that number to inquire of Macari about
Mohr and, when Macari leamed that Comell was seeking funding, suggested that
Comell deal directly with him rather than with Mohr. Comell ultimately chose to
do that and agreed to pay Macari several hundred thousand dollars as a fee for the
promised use of T-bills. Cornell thereafter paid Macari $90,000 of the amount
due for that fee. When Comell presented the assignment of T-bills that Macari
provided to him as collateral for a loan, he was rejected by the various lending
institutions with the explanation that proof of ownership of the T-bills, not merely
of existence thereof, was required. Although Comell demanded that Macari
return the fee paid to Macari, to date, Macari has refused to do so.

12. The USAO and the defendant agree that, although not binding on the probation
office or the court, they will jointly recommend that the court make the following findings and
conclusions as to the sentence to be imposed:

a. Applicable Guidelines Manual: The United States Sentencing
Commission Guidelines Manual for 2000, i.e., the Guidelines Manual
incorporating amendments effective November 1, 2000, govems the
defendant’s sentencing in this case.

b. Applicable Guideline. Pursuant to Section 1B1.2(a) of the Sentencing
Guidelines, Section 2B1.1 of the Sentencing Guidelines is the offense
guideline applicable to the offenses of conviction. |

c. Base Offense Level. Pursuant to 2F1.1(b)(1)@M), 1B1.2(a), and 1B1.3 of
the Sentencing Guidelines, the defendant’s offense level is eighteen (18)
based ona net loss to the victims in this case of more than $1,500,000
(but less than $2,500,000).

d. Adjustments/Departures. Aside from the downward adjustment provided

for in paragraph 7 of this Agreement, and except in the event that the

 

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USAO files a motion pursuant to USSG §5K1.1, the parties agree that no
upward or downward sentencing departures and no upward or downward

sentencing adjustments are warranted in this case.

 

Overall Adjusted Offense Level. As a result of the foregoing, and
assuming that the defendant meets al] of the conditions set forth in
paragraph 7, the applicable offense level for the offense committed by the

defendant is fifteen (15).

USAO’s Recommendation As To Sentence. Assuming the defendant’s

compliance with each of the terms and conditions set forth herein, the
USAO will recommend at sentencing that the defendant be sentenced to
the minimum period of time set forth in the applicable Guideline range. In
addition, if the USAO files a motion pursuant to USSG §5K1.1, any
downward departure recommended by the USAO as the result of that
motion shall be in the form of a specified number of offense levels based
upon the significance of defendant’s cooperation. The USAO agrees that
it will not seek a fine in this case and will recommend to the Court that
any of the defendant’s assets that would be available to pay a fine and/or

restitution be used first to pay restitution.

The defendant hereby agrees that, based upon the net loss to the victims in this
case, he will stipulate to a restitution order to be entered against him and George Manter for the
amount of $1,600,000, less any amount not previously credited that the defendant sufficiently

demonstrates has already been refunded to the persons whose funds were the source of those

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funds paid to Manter or Macari. The defendant further acknowledges and agrees that he shall be
held jointly and severally liable with Manter for the foregoing amount and that such amount shall
be due and payable in accordance with the Court’s restimtion order entered as to defendant
Macari.

14. The USAO agrees that it will endeavor and use best efforts in doing to obtain a
global settlement with the United States Attomey’s Offices in other federal districts in which the
activities occurred relating to the scheme that is the basis for the crime to which he will plead
guilty pursuant to this Agreement. The parties understand and agree, however, that the refusal of
any such district to enter a global settlement will neither constitute a breach by the USAO of the
terms and conditions of this Agreement nor serve as a basis for defendant Macari to withdraw
from this Agreement.

15. The USAO agrees to recommend to the Court that, following his initial
appearance in this case and pending imposition of sentence, the defendant remain free on 8
personal surety bond. 16. This is the entire agreement and understanding between the

United States and the defendant. There are no other agreements, promises, representations, or

understandings.
Date: 7/A7/or By: k .
‘ John Macari
Defendant
Date: By:

  

 

Attorney for Defendan

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Date: 7/23/07

 

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Victim Impact

20. ‘The provisions of the Mandatory Victims Restitution Act of 1996 apply to this Title
18 offense. Restitution in the amount of $1,380,000 shall be ordered to compensate
the victims in this case, pursuant to 18 U.S.C. § 3663A(a)(1). A total of 14 victims
have been identified. To date, seven victims have responded with loss amounts.
Three letters were returned as undeliverable. Four victims have not responded. The
restitution owed, to date, is $1,380,000.

Adjustment for Obstruction of Justice

21. The probation officer has no information to suggest that the defendant impeded or
obstructed justice.

Adjustment for Acceptance of Responsibility

22. The defendant provided a written statement as follows:

“T fully, completely and unequivocally accept responsibility for
the actions which led to the charges against me and to which I
pled guilty. I have learned my lesson and I will never again be
in trouble with the law. In an effort to help law enforcement, I
have agreed to cooperate with the FBI and the United States
Attorney’s Office, helping them uncover crime and prosecute
those responsible for it. I apologize to the Court and to the
Government for my actions.”

Thank you.

Sincerely,
/s/ John R. Macari

Offense Level Computation

23. Pursuant to § 1B1.11(a), the Court shall use the Guidelines Manual in effect on the
date the defendant is sentenced, unless the use of that book violates the_ex post facto
clause of the United States Constitution. In which event, the Court shall use the
Guidelines Manual in effect on the date the offense was committed. The 2000 and
2004 Guidelines Manuals were compared and the earlier edition produces a lower
total offense level and will be used in applying the guidelines.

8 Rev. 04/27/05

EXHIBIT “B”
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MKOKRIM

The Norwegian National Authority for Investigation and Prosecution
of Economic and Environmental Crime
US Attorney's Office
505 S.2nd $1, Suite 200, Ft. Pierce 34950
Florida USA

Att: Jim McAdams

‘Your reference Our feferanca Our date

11,2.04

Regarding Interview of John Macari, West Palm Beach

On December 16 2003 John Macari was interviewed by @KOKRIM- The Norwegian
National Authority for Investigation and Prosecution of Economic and Environmental
Crime in connection with a criminal case in Norway. Also present was the attomey for

the defendant. The interview took place at the US Attorney’s office in West Palm
Beach.

Mr Macari had agreed to be interviewed by the prosecution and the defendant.
In our opinion Mr Macari for the most part was helpful during the interview.

His answers to the questions he was given did assist us in our case.

 

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! EXHIBIT “C”
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Joseph Macari
3220 Holly Creek Drive
Jensen Beach, Florida 34957

April 19, 2005

The Honorable Kenneth A. Marra
U.S. District Court Judge

299 East Broward Blvd.

Fort Lauderdale, Florida 33301

Re: USA v. John Maeari
Dear Judge Marra:

| am writing to you today to let you know what kind of person my brother, John Macari, is.
First, he has always been the dependable one in our family. John has been the rock we could
always depend on whenever there was any kind of probiem. !f there was ever a problem with
money, or a family problem, or somebody's child was in trouble, John was always there to help
out.

While growing up, John was the kind of older brother that always watched out for us. If
food was short, as it was sometimes was during the lean years around the depression, or if our
father was out of work, then John always made sure we were fed first.

Our parents worked hard when we were kids, but times were tough. There often was not
enough money to pay all the bills and feed a large family. John, the oldest child, had to leave
school and get jobs to help bring in extra money. John always had a part-time job from paper
routes, shoveling snow, to working at the five and dime to help bring in much needed extra
money. John also, always helped out around the house; cleaning up the yard, painting the house,
and helping our parents raise my sister and me.

As we got older and John became somewhat successful in business, John helped our
parents financially. He paid some of their bills and always was there when one of them was sick or
needed help. When our parents became elderly and sick, John was there for them. He paid our
parents’ medical bills and made and paid for all the final arrangements. Again, John was the rock
who everyone in the family turned to for emotional, financia!, and personal help.

For myself, John has helped me financially and personally more times than | can
remember. John made it possible for me to buy my first house. He found the site, built, and paid
the down payment on my first house. John knows | live on a small fixed income. Again, John has
been there for me each and every time | have needed help. His efforts have been directly
responsible for me to supplement my monthly income and thus, live with a modicum of comfort in
my senior years.

in short, | am grateful that John is my caring and loving older brother. | love him and
respect him, as do al! our family.

Sincerely,

Na-Ca

 

Joseph Macari

EXHIBIT “D”
Case 2:02-cr-14084-KAM Document 53 Entered on FLSD Docket 05/23/2005 Page 31 of 106

Maryann Lynch
47 Crowes Purchase Road
West Yarmouth, Massachusetts 02673

April 18, 2005

The Honorable Kenneth A. Marra
US. District Court Judge

299 East Broward Blvd.

Fort Lauderdale, Florida 33301

Re: USA y. MACARI
Dear Judge Marra:

I am writing this letter on behalf of my brother, John Macari. Let me state at the outset that John has always
been there for me and my family. John was always the responsible older brother; he helped raise my brother Joe and
me when we were children. He always watched over us and protected us.

John has always been a dependable hard worker and was devoted to our family. As a youngster, John took
jobs to help the family finances. He took his first job when he was fourteen years old — working as a mechanic’s
helper in the local garage — and has never stopped working. Our family went through some hard times; tight finances
put a strain on the entire family. John sacrificed school and was deprived most aspects of a normal childhood to help
the family by working and helping take care of my brother (Joe) and myself.

When John reached adulthood, his diligent hard work helped him become somewhat financially successful.
Again, John was always there for our family. He took care of our aging parents — physically and financially — and
helped my brother and I many times. When my brother or I had a problem, John volunteered his assistance. He was
and continues to be a great big brother.

When I went through a tough time with one of my children and when my husband and I_ experienced
financial problems, John stepped right up and helped us financially and emotionally. John never has to be asked
twice for help. He has always been there for me and my children — no matter what the situation. He has been a
wonderful grandfather figure to my children and their children. He has been as caring and dependable to my children
as he was to us while growing up. He remembers the children and grandchildren’s birthdays and special occasions.
My children love and respect John as much as I do.

I have always loved John and he holds a special place in our family’s hearts.

If I can be of any further assistance, please do not hesitate to contact me.

Sincerely,

Nargeren Kayneh

Maryann Lynch

EXHIBIT “E”
Case 2:02-cr-14084-KAM Document 53 Entered on FLSD Docket 05/23/2005 Page 32 of 106

Stephen J. Macari
3600 Heron Bivd.
Tequesta, Florida 33458

April 20, 2005

The Honorable Kenneth A. Marra
U.S. District Court Judge

299 East Broward Bivd.

Fort Lauderdale, Florida 33301

Re: USA v. John Macari
Dear Judge Marra:

I am writing this letter to describe my father, John Macarij. My father has always been
honest, dependable and, above all else, very loving. | love my father without reservation and
believe he loves my son and me unconditionally.

My father is the kind of man who is not afraid to let you know how he feels. My father was
always very affectionate with my mother, brother and me: we laughed, hugged, and cried together.
| will always remember that my father taught me that all feelings were O.K. As such, my childhood
was filled with good, strong, loving memories. We were a close family: If there was a problem or
something sad, or even something joyous, we talked about it, laughed about it, celebrated it, and
worked it out.

My father was no slacker; if | did something wrong, or failed to live up to my word, or (worst of all)
tied, my father and 1 would have a, heart — to — heart. However, after our heart — to — heart, there
would be some consequences. In other words, my father never let us slide when doing the wrong
thing. My father taught us right from wrong and expected us to be responsible for our behavior.
We knew what was right and were expected to do the right thing. In short, | was well loved and
well taken care of.

My father did have to work, and work hard, while | was growing up. This meant he had to
be at work a good deal of the time. Irrespective of his hectic work schedule, my father always
found a way to spend quality time with my brother and me. We would go fishing, play catch, and
have informal cookouts. The activities did not matter but our time together did.

As an adult, my father has always been there for me: He helped me get started in my
business, bought my first house, and has been a good grandfather for my son, Stephen, Jr. |
recently went through a divorce. As usual the divorce was hard on everyone. My father was there
for my son and me. He has provided much needed guidance and a sense of security for Stephen,
Jr. as our respective worlds fell apart. If it were not for my father, | do not know how | would have
made it through this extremely stressful time.

in summation, my father is, and has been, a man of positive moral character: He is. a
caring, conscientious, and loving man. My father taught me that in work, as well as in family
affairs, one should always be conscientious, straightforward, fair, and apply the Golden Rule. Do
unto others, as you would have them do unto you. | am proud to call John Macari: my father.

Please do not hesitate to contact me should you have any questions.

G Mater

Sincerely,

      

Stephen J. Macar

EXHIBIT “F”
Case 2:02-cr-14084-KAM Document 53 Entered on FLSD Docket 05/23/2005 Page 33 of 106

Chance M. Gorman
162 S.E. St. Lucie Blvd.
Stuart, Florida 34996

April 22, 2005

The Honorable Kenneth A. Marra
US. District Court Judge

299 East Broward Blvd.

Fort Lauderdale, Florida 33301

Re: USA v. John Macari
Dear Judge Marra:

I am writing this letter for John Macari. I have told my father, Robert L. Gorman, what
to write as I am 14 years old and can not type well because I have Cerebral Palsy on my left side.

I have known John about three years. My father was working for John and John would
allow me to come to work with my father sometimes. This past year I have come to John’s
offices a lot more. | think it is nice that John allows me to come to his offices with my father. I
do my schoolwork — I am Home-Schooled by my father — in a private office. My father
explained to me that a lot of places don’t allow the people who work there to bring children to
work, So, I think it’s very nice of Mr. Macari to let me come to his office.

Mr. Macari has been very nice to me. He doesn’t treat me like a dumb kid, but actually
will talk with me. He also has been very concerned and interested in my Cerebral Palsy. He
never makes fun of me and always treats me with respect. He doesn’t patronize me and
understands that I have and use my large vocabulary. For instance, Mr. Macari didn’t make fun
of me because I said he was “avuncular.” (Of an uncle; having traits considered typical of uncles;
jolly, indulgent, stodgy, etc., Webster New World Dictionary, 1988). So, I find Mr. Macari, like
an Uncle: Jolly and indulgent.

I like Mr. Macari very much as he is a good man.

Sincerely,

Chance M. Zn

orman

EXHIBIT “G”
Case 2:02-cr-14084-KAM Document 53 Entered on FLSD Docket 05/23/2005 Page 34 of 106

Robert L. Gorman, J.D., M.S.
162 S.E. St. Lucie Blvd.
Stuart, Florida 34996

April 22, 2005

The Honorable Kenneth A. Marra
U.S. District Court Judge

299 East Broward Blvd.

Fort Lauderdale, Florida 33301

Re: USA v. John Macari
Dear Judge Marra:
I am writing this letter as a personal reference for John Macari.

I have worked as a consultant for Mr. Macari and his organizations providing organizational /
counseling / and paralegal services for approximately five years. As a Master level mental health clinician /
psychologist / Florida certified teacher for “Gifted” students, with my Juris Doctor degree from Suffolk
University Law School, Massachusetts, I have come to know John Macari personally and professionally.

As a mental health clinician and educator, 1 am impressed that John has managed to continue
functioning at a high level of productivity given the number and severity of life — stressors in his life: recent
death of his wife of 51 years; legal complications; physical calamities (heart catheterization / diabetes), and
the frenetic pace and inherently traumatic nature associated with the world of investment speculation. I am
astonished that John continues to function given the above stressors, any one of which would leave most
people severely incapacitated.

Irrespective of the stressors Mr. Macari suffers daily, he remains consistent, reliable, and
trustworthy. I believe Mr. Macari to be a highly professional businessperson who is straightforward and
honest in his communication and all business practices.

Personally, Mr. Macari has helped me when I have had difficult times. I am currently undergoing
treatment for a serious illness. Mr. Macari has been there for me: He has accommodated my hectic schedule
filled with Doctor appointments and allows me to bring my fourteen — year — old son (who suffers hemiplegic
cerebral palsy) to the offices while consulting. His kindness and generosity are greatly appreciated by my son
and myself.

I consider John Macari my friend. His honesty, compassion, consideration, and sound ethical
business practices make him a true friend.

If there is anything I can do to help clarify, facilitate, and / or add to the current issues, please do not
hesitate to call.

 

EXHIBIT “H”
Case 2:02-cr-14084-KAM Document 53 Entered on FLSD Docket 05/23/2005 Page 35 of 106

Charles Clark
901 Martin Downs Blvd.
Palm City, Florida 34990

April 17, 2005

The Honorable Kenneth A. Marra
US. District Court Judge

299 East Broward Blvd.

Fort Lauderdale, Florida 33301

Re: USA v. John Macari
Dear Judge Marra:
I am writing this letter as a personal reference for John Macari.

I have known Mr. Macari personally and professionally for approximately nine years. I
have worked with Mr. Macari providing accounting services to him and his organization(s)
thoughout our years of acquaintance.

John and I have also been personal friends for years. John is a generous and charitable
man. He donates regularly to Saint Jude’s Church in Jupiter and Tequesta. Whenever we have
traveled together, John is the type of person who always has a spare dollar for the needy. I was
always impressed with John’s willingness to reach out to help a person in need. Case in Point:
He will often donate a few dollars to a homeless person, who is invariably muttering something
about needing train fare. Irrespective of strong suspicions the donation will go not for train fare,
but to some other less desirable end, John insists on giving the homeless person some money, say
a prayer, and hope the contribution helps the poor person in some small way.

In summation, John Macari is a very professional, generous, and kind person. My life,
and the lives of those he regularly helps, are richer, better, and happier for having known him.

If you have any questions, please do not hesitate to contact me.

 

EXHIBIT “I”
. Case 2:02-:cr-14084-KAM Document 53 Entered on FLSD Docket 05/23/2905 Page 36 of 106
’ 3 \ er: : (| J Q '
Palra Beach Gardens Medical Center A (ot
-3360 Burns Road, Palm Beach Gardens, Florida 33410 \

PT: MACARTI, JOHN . MR#: 725124279
ROOM#: PATCOM#:
DR: EDGAR A. COVARRUBIAS, M.D. CATH#: 973489

MB#: 56/274

DATE: 11/04/97

REFERRING PHYSICIAN: Luis S. Ulloa, M.D.

PALM BEACH GARDENS HEART INSTITUTE
PALM BEACH GARDENS MEDICAL CENTER
CARDIAC CATHETERIZATION LABORATORY

CARDIAC CATHETERIZATION

CLINICAL SUMMARY: Mr. Macari is a 68 year old gentleman admitted to
Palm Beach Gardens Medical Center with unstable angina who has
multiple risk factors for coronary artery disease. Because of
recurring symptoms the patient was brought to the catheterization
laboratory for cardiac catheterization to determine his coronary
anatomy and further treatment.

PROCEDURE: Left heart catheterization was performed using the
Seldinger technique via right femoral artery having a 5-French venous
sheath for venous access.

Selective coronary arteriography was performed with the 5-French JR4
and JL4 coronary catheters. Left ventriculogram was performed with
a 5-French Cordis pigtail catheter.

The patient tolerated the procedure well, without any complications
and the patient is being prepared for angioplasty in view of the
high-grade proximal left anterior descending obstruction.

HEMODYNAMICS : The left ventricular end-diastolic pressure was
mildly increased with left ventricular end-diastolic pressure of 19
with a left ventricular ejection fraction of 38%.

CORONARY ANGIOGRAPHY:

LEFT CORONARY ARTERY: The left ostium is widely patent with the left
main being similarly free of any significant disease. The left
anterior descending artery reveals a 90% discrete obstruction in its
proximal portion with the proximal left anterior descending

being a tortuous- vessel with luminal irregularities and increased
density on fluoroscopy suggesting significant calcification. The
left anterior descending gives a proximal relatively large diagonal

Continued,

CARDIAC CATHETERIZATION LABORATORY
EXHIBIT “J”

DR. COPY
Case .2:02-cr-14084-KAM Document 53 Entered on FLSD Docket 05/23/2005 Page 37 of 106
Palm Beach Gardens Medical Center
‘3360 Burns Road, Palm Beach Gardens, Florida 33410

PT: MACARI, JOHN
PAGE 2

branch with no evidence of significant disease.

The distal left anterior descending is free of any significant
obstruction.

CIRCUMFLEX CORONARY ARTERY: This is a complex coronary artery that
is a relatively large vessel with no evidence of obstruction but mild
luminal irregularities giving a large second obtuse marginal branch
with no evidence of significant disease.

RIGHT CORONARY ARTERY: The right coronary artery is a dominant
vessel with luminal irregularities but no evidence of a significant
obstruction giving a high marginal branch that is mildly diseased at
its origin but being a small vessel for revascularization.

LEFT VENTRICULOGRAM: The left ventriculogram performed at 30
degrees right anterior oblique revealed an increased left ventricular
end-diastolic pressure with mild diffuse hypokinesia of the inferior
and anteroapical wall likely related to an element of a cardio-
myopathy in addition to coronary artery disease. No evidence of
significant mitral regurgitation.

SUMMARY _OF FINDINGS:

1. INCREASED LEFT VENTRICULAR END-DIASTOLIC PRESSURE WITH DECREASED
DIFFUSE LEFT VENTRICULAR CONTRACTILITY.
2. CORONARY ARTERY DISEASE WITH:
A. HIGH-GRADE PROXIMAL LEFT ANTERIOR DESCENDING OBSTRUCTION.

BA. DISEASE OF A SMALL HIGH MARGINAL BRANCH OF THE RIGHT
CORONARY ARTERY.

RECOMMENDATIONS : Mr. Macari is advised to undergo angioplasty of
the proximal left anterior descending.

FAC:W10:MTI Cas#:291 Kip

D: 11/19/97 T: 11/20/97 EDGAR A. COVARRUBIAS, M.D.

cc: Luis S. Ulloa, M.D.

CARDIAC CATHETERIZATION LABORATORY

DR. COPY
Case 2:02-cr-14084-KAM Document 53. Entered on FLSD Docket 05/23/2005 Page 38 of 106

Palm Beach Gardens Medical Center ,
3360 Burns Road, Palm Beach Gardens, Florida 33410

ECHOCARDIOGRAPHIC REPORT

PT: MACARI, JOHN MR : 725124279 Rm # : 00124-1
DT: 11/04/97 Pat: 4596447
DR: EDGAR A. COVARRUBIAS, M.D.

Ordering Physician : ULLOA M.D., LUIS

INDICATION FOR STUDY : ISCHEMIC HEART DISEASE, EVALUATION OF
LV FUNCTION, SYSTOLIC MURMUR

INTERPRETATION: M-mode and two-dimensional tracing revealed an
increased left ventricular internal dimension with mild
hypokinesia of the anterior and septal wall with an estimated
ejection fraction of 45%.
The left atrial size is borderline increased on the two-
dimensional views. Aortic root is dilated with aortic leaflets
opening well in systole with no evidence of significant
obstruction. The mitral valve motion is normal.

No evidence of pericardial effusion.

Doppler Study: Continuous, pulsed wave and color flow Doppler
revealed trivial mitral regurgitation of no hemodynamic
significance. There is an increased flow velocity during atrial
contraction consistent with a stiff left ventricle or diastolic
dysfunction.

CONCLUSIONS : 1. MILD LEFT VENTRICULAR ENLARGEMENT WITH
ANTERIOR AND SEPTAL HYPOKINESIA AND MILDLY
DECREASED SYSTOLIC FUNCTION.

2. LEFT VENTRICULAR DIASTOLIC DYSFUNCTION BY
ECHO DOPPLER.

3. MILD MITRAL REGURGITATION.BY DOPPLER STUDY.

  

EDGAR AZ COVARRUBIAS, M.D.

EAC/SJF

D: 11/05/97 0925
T: 11/05/97 1139
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cc: Luis S. Ulloa, M.D.

PT : MACARI, JOHN EDGAR A. COVARRUBIAS

Ord : 126444 Page 1
Printed on 11/05/97 at 1145 (DC )
ECHOCARDIOGRAPHIC REPORT
Case 2:02-cr-14084-KAM Document 53 Entered on FLSD Docket 05/23/2005 Page 39 of 106

PALM BEACH HEART GRoupP, P.A.

Consultative and Interventional Cardiology

 

Edgar A. Covarrubias, M.D. F.A.C.C. | Michael D. Castillo, m.p.

STRESS ECHO STUDY

NAME OF PATIENT: MACARI, JOHN
DATE OF STUDY: 11/11/98
REFERRING PHYSICIAN:

CLINICAL SUMMARY: Mr. Macari is a 69-year-old patient post
angioplasty of the LAD with recurrent episodes of chest discomfort.

PROCEDURE: Following an informed consent, the patient had a
baseline echocardiographic study with increased left ventricular
internal dimension with apical septal and anterior wall
hypokinesia.

His baseline EKG revealed sinus rhythm with a baseline ST segment.

Patient exercised using a modified Bruce protocol able to exercise
for 7 minutes with an increase in his heart rate to 122 equivalent
to 80% of his maximally predicted heart rate. BP baseline was
170/90 with an increase in his BP to 220/90 at peak exercise.

Patient denied any chest pain but had significant fatigue at peak
exercise.

EKG monitoring revealed no significant ST segment depression with
similarly his post stress echo revealing persistent hypokinesia of
the posterior, anteroapical and lateral wall of the left ventricle.

CONCLUSION: Equivocal stress test for myocardial ischemia with
persistent wall motion abnormality post exercise
with poor tolerance to exercise and hypertensive
response.

Patient is advised to increase his Lopressor to 50 mg bid. If
patient has a persistent chest discomfort, he will be scheduled for
a coronary angiogram as the best way to determine his coronary
anatomy and assessment of his LAD following angioplasty.

EAC/blh EDGAR Loo cmnenta , M.D.
cc Luis Ulloa, M.D.

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3370 Burns Roap, Surte 106 YY PatmM BEACH GARDENS, FL 33410
Tet 561 6223875 Y Fax 561 622 4614
Case 2:02-cr-14084-KAM Document 53 Entered on FLSD Docket 05/23/2005 Page 40 of 106

Macari, John 11/18/97

Mr. Macari is a pleasant patient of Dr. Ulloa’s who was admitted to
Palm Beach Gardens with unstable angina and underwent cardiac
catheterization and subsequently an angioplasty with stent
placement of the left anterior descending artery with successful
intervention. Patient is doing well on Ticlid 250 mg for one
month, Lopressor 25 mg bid, Glucotrol, Zestril and Isordil. His
only complaint is having severe headaches likely related to
Isordil.

His BP today is 128/60, pulse 70 per minute regular. He weighs 222
pounds. Lungs are fairly clear. Cardiac exam is unremarkable with
decreased heart sounds. No significant murmurs. No peripheral
edema.

His EKG revealed sinus rhythm with poor R wave progression in right
precordial leads.

He is to continue with his current medications except decreasing
his Isordil to 10 mg bid. If he continues having headaches, he
will taper down to 5 or discontinue if he continues having
headaches. Will see him in 4-5 weeks at which time patient will
have a stress test and further follow-up accordingly.

EAC/blh EDGAR A. COVARRUBIAS, M.D.
(dictated but not read)

cc Luis Ulloa, M.D.
3379 Burne Rd.
#108 0”
Palm Reqch Gardens, FL 33410

cc EKG

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Case 2:02-cr-14084-KAM Document 53 Entered on FLSD Docket 05/23/2005 Page 41 of 106

Macari, John 10/12/98

Mr. Macari is a 69-year-old patient post angioplasty of the LAD.
He is doing well except has recurrent episodes of chest discomfort,
short-lasting, over the past few weeks. Patient had his chem.
profile checked with Dr. Ulloa being within normal limits. His
hemoglobin A1C was elevated. Patient is on Glucophage and
Glucotrol as per Dr. Ulloa.

His BP is 140/80, pulse 76. He weighs 233 pounds which is 11
pounds higher than his previous visit in November of '97.

Lungs are clear. Cardiac exam is unremarkable. No peripheral
edema.

His EKG revealed sinus rhythm with no acute changes. He has poor
R wave progression in right precordial leads consistent with
anteroseptal infarction.

Mr. Macari will be scheduled for a stress echo and further workup

accordingly.
Sliekor 2 Z
EAC/blh EDGAR A. COVARRUBIAS, M.D.

(dictated but not read)

cc Luis Ulloa, M.D. /

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Macari, Jobh 1/14/99

Mr. Macari is a 69-year-old patient who underwent a stress test on
11-11-98 with low tolerance to exercise and hypertensive response.
Patient was advised to increase his Lopressor to 50 mg bid. He is
seemed to be doing better with no significant chest pain.

His BP is 150/62, pulse 80. He weighs 235 pounds. Lungs are
clear. Cardiac exam is unchanged. No peripheral edema.

Patient was encouraged to be more active and be more careful with
his weight. Patient follows his lipid profile with Dr. Ulloa. He
is presently on Lipitor 10 mg daily.

Patient will be seen in four months or on a prn basis. He was
instructed to call me if he has increasing angina considering
repeating his angiogram.

EAC/blh EDGAR A. COVARRUBIAS, M.D.
(dictated but not read)

cc Luis Ulloa, M.D.
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Case 2:02-cr-14084-KAM Document 53 Entered on FLSD Docket 05/23/2005 Page 42 of 106

Macari, John 5/18/99

Mr. Macari is a pleasant gentleman with a history of coronary
artery disease, angioplasty of the LAD, doing well on medical
treatment which includes Lopressor 50 mg bid in addition to
aspirin. Patient is a diabetic on Glucophage and Glucotrol as per
Dr. Ulloa. Similarly he is on Lipitor.

His BP is 136/70, pulse 68 regular. He weighs 234 pounds. Lungs
are clear. Cardiac exam is unchanged. No significant edema.

Patient was encouraged to continue making an effort of losing
weight and increasing his exercise. We will see him in six months
or on a prn basis.

EAC/blh EDGAR A. COVARRUBIAS, M.D.
(dictated but not read)

cc Luis Ulloa, M.D.

Macari, John 11/4/99

Mr. Macari is a pleasant patient of Dr. Luis Ulloa’s with a history
of coronary artery disease, post angioplasty of the LAD, doing well
on medical treatment. He is moderately active. He continues on
Lipitor 10 mg daily. His lipid profile as per Dr. Ulloa was
satisfactory.

His BP today is 140/80, pulse 72 regular. He weighs 231 pounds.
He lost only 3 pounds from his last visit six months ago. JVP not
distended. Lungs are clear. Cardiac exam is unchanged. No
peripheral edema.

His EKG revealed sinus rhythm with old anteroseptal infarction
pattern. ;

He is to continue his current medications. We will see him in six

months or on a prn basis.
JEWEE ey

EAC/blih EDGAR A. COVARRUBIAS, M.D.
(dictated but not read)

cc Luis Ulloa, M.D.

EKG enclosed
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@oecision making process, diagnosis/dilf. diagnosis explained to patient. Management options reviewed together.
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O Long explanation about risks of complications, Morb./Mort © Minutes with patient under/over 5-10-15-25-45

© Extended time spent in counseling about disease, cara, plan, side effects, of meds.
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Roly Cross MACARI, JOHN R.
Hospital cIuU-a2
Ft. Lauderdale, 973455
Florida
55120844141
KHAN, ASLAM
05/20/04
HEART LAB
AGE: HGT: WGT: CASE
#:
ADMISSION DATH: 05/20/04
DATE OF PROCEDURE: MAY 20, 2004

REFERRING PHYSICIAN:

INDICATIONS FOR CORONARY CATHETERIZATION:

lL. Recurrence af angina pactoris.
2. Status post percutaneous transluminal coronary angioplasty.

PROCEDURE: Left heart catheterization, cine angiography, and
stenting of the dominant right coronary actery.

MEDICATIONS: Intravenous nitroglycerin, intravenous heparin,
intravenous Integrilin, caleium channel blockers, and
antiplatelet agents.

CATHETERIZATION TECHNIQUE: Under local anesthesia with 2%
solution of Xylocaine tha right femoral artery was cannulated
with #€ French sheath. Left ventricular end-diastolic pressure
was recorded with the halp of #6 French right coronary cathetar.
Left ventricular cine angiography was not dene to avoid
excess dye lead. Tha patient is going to have an sachocardiogram.
Since new high-grade stenosis was noted in a vary large dominant

CARDIAC CATHETERIZATION REPORT
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NAME: MACARI, JOHN R,
MR: 973456
ACCT: $5120844141

right coronary artery distally. Additional pre-stenting right
coronary artericgrams ware obtained with 46 French Hockey stick
guarding catheter with side holes. The lagicn was crossed with
0.014 inch extra support guide wire and a 3 mm x 16 mm Sei-med
drug eluted Taxus stant was deployed up to 1S atmosphares for
angiographic 90% stenosis in the distal right coronary artery,
regressad to zero parcent residual stenosis. Phe patient
toleratad the procecure well without any complications.

PLUOROSCOPIC OBSERVATION: No intracardiac calcifications were
seen, Normal cardiac silhouette was noted. Lunga were claar.
The diaphragms are symmetrical and move well,

ANGIOGRAPHIC FINDINGS:

LEFT VENIRICULOGRAM CINE ANGIOGRAM: Revealed a normal left
main trunk. The left anterior deacanding coronary artery is a
larga caliber vessel, which gives risa to fair size diagonal
branches and several septal perforators. The previously stented
segments in tha laft anterior descending was widely patent.

The Left circumflex coronary artery is alsa a larga caliver
vessel, which gives rise to a faiz size marginal division in the
circumflex proper. The left circumflex coronary artery has mild
luminal irregularities.

SELECTIVE RIGHT CORONARY ANGIOGRAM: Exhibit a very large
dominant right coronary arterial systam, which gives arises to
the posterior descending artery. branches posterior lateral wall
of the left ventricle and the right ventricular branches. The
right coronary artery nad 90% stenosis, pre-stenting distally
with normalization of the Lumen for stenting.

SUMMARY AND CONCLUSIONS;

1. Succesaful stenting of a very large cominant right carcnary
artery.

Date Date

CARDIAC CATHETERIZATION REPORT
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NAME: MACARI, JOHN R.
MR: 973465
ACCT: 65120844141

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CARDIAC CATHETERIZATION REPORT
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Palm B Gardens Medical Center
3360 Burns Road, Palm Beach Gardens, Florida 3341

CONSULTATION REPORT

Palm Beach Gardens Medical Center
3360 Bucns Road
Palm Beach Gardens, Plorida 33410

PT NAME: MACARI, JOHN

MR¥#: 000263842

DOCTOR: PREDRAG KNEZ, M.D.
MB:

DATE OF CONSULTATION: 9/16/2004

CARDIOLOGIC CONSULTATION
REFERRING PHYSICIAN: Luis S. Ulloa, M.D.

CLINICAL HISTORY: The patient is a pleasant 75-year-old gentleman
with past medical history significant for coronary artery disease,
status post angioplasty and stent placement in the left anterior
descending and the right coronary artery in May 2004; history of
hypertension; longstanding diabetes mellitus; and anemia; who
presented to Palm Beach Gardens Medical Center with a 7-day history
of right-sided chest pain. The pain is described as a rather sharp
pain with worsening and improvement over the past 7 days but with no
disappearance. The pain has not been related to activities nor has
it been relieved by rest. [It gets worse with certain movements but
iz not worse with deep inspiration or coughing. The pain has not
prevented the patient from doing his regular activities. The patient
reports marked reduction in exercise capacity in the past 6 months.
He develops shortness of breath with the activities that he used to
do easily previously. The symptoms have not changed after the
angioplasty recently. He underwent a stress test in Fort Lauderdale
where the angioplasty was done, and it was borderline abnormal, and a
medical path was recommended. The patient denies paroxysmal
nocturnal dyspnea, orthopnea, palpations, near-syncope, or syncope.
He danies respiratory infection or a flu-like syndrome this past 2
weeks.

At the time of my evaluation, the patient appears comfortable, though
he still has right-sided chest pain. The pain is located right
beyond the lowest rib in the rib cage on the right side. He denies
any nausea and vomiting. He has not had abdominal pain related to
the pain in the chest.

PAST MEDICAL HISTORY: As above.
ALLERGIES: No known drug allergies..

SOCIAL HISTORY: The patient is a nonsmoker. He denies drinking
alcohol. He denies the use of elicit drugs.

FAMILY HISTORY: Noncontributory.

REVIEW OF SYSTEMS: :
GENERAL: No weight loss or weight gain. No appetite loss. No

Patient : MACARI, JOHN R CONSULTATION REPORT

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Palm B Gardens Medical Center
3360 Burns Roady~Paim Beach Gardens, Florida 3341

CONSULTATION REPORT

generalized weakness.

CARDIOVASCULAR: As above noted.

RESPIRATORY: No shortness of breath. No cough sputum production,
hemoptysis, or wheezing.

GASTROINTESTINAL: No abdominal pain. No nausea or vomiting. No
diarrhea or constipation.

GENITOURINARY: No symptoms related to this system are reported.
MUSCULOSKELETAL: Osteoarthritic pain in the lower extremities
reported.

NEUROLOGICAL: No headaches. No difficulty sleeping. No difficulty
with memory loss.

SKIN: No skin rashes noted.

LYMPHATIC: No lymphadenopathy.

VISUAL: No recent reduction of visual acuity noted.

PHYSICAL EXAMINATION:

GENERAL APPEARANCE: The patient is a well-developed, moderately
obese, elderly gentleman lying in a bed with no evidence of acute
respiratory distress. The patient appears to be comfortable;
although he still has chest pain on the right side, which he can
pinpoint over the lower right rip in the mammary line.

VITAL SIGNS: Heart rate 64 beats per minute. Respiratory rate 18.
Blood pressure 150/82. The patient is afebrile.

HEENT: Normocephalic, atraumatic. PERRLA. EOMI. No throat, nose,
or ear abnormalities noted.

NECK: Supple. Na JVD or carotid bruits appreciated. No thyromegaly
or lymphadenopathy.

CHEST: Without deformities. No accessary muscles of respiration are
being used.

LUNGS: Clear to auscultation and percussion. A few rhonchi, rales.
No wheezes.

HEART; Sounds are both present and of normal intensity. There are
no murmurs, xubs, or gallops appreciated. The PMI is not palpable.
ABDOMEN: Soft, nontender. No organomegaly or abdominal bruits
noted. The bowel sounds are present. No lymphadenopathy.
GENITORECTAL: Exams are deferred.

EXTREMITIES: Without edema. Peripheral pulses 2+ bilaterally.
NEUROLOGICAL: Exam grossly within normal limits.

DIAGNOSTIC DATA: WBC count is 16. Hemoglobin is 11.9, hematocrit
34, and platelet count 229,000. Enzymes negative. Sodium 140,
potassium 4.4, chloride 104, bicacbonate 30, BUN 34.4, creatinine
1.6, and glucose 113. Liver function tests within normal limits.

An echocardiogram showed sinus rhythm at 72 beats per minute. There
is a suggestion of Q-waves in leads IY and III and Q-waves noted in
leads V1 through V3, suggesting previous anteroseptal myocardial
infarction. No ischemic ST-T changes noted. No change compared to
the echocardiogram done in Dr. Ulloa's office.

cT angiogram of the chest is pending.

IMPRESSION:
i. Chest-pain syndrome with atypical features. Post-pericarditic

Patient : MACARI, JOHN R ‘ CONSULTATION REPORT

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Palm B- 1 Gardens Medical Center ‘ s
3360 Burns Road; Palm Beach Gardens, Florida 33410
CONSULTATION REPORT

versus noncardiac chest pain versus GI pain.

2. Coronary artery disease, status post angioplasty with stent in
the left anterior descending and right coronary artery with
exertional dyspnea’ suggestive of angina.

3. Hypertension on medical therapy.

4. Diabetes mellitus.

5. Anemia.

RECOMMENDATIONS:

1. I agree with the CTA of the chest to mule out the possibility of
aortic dissection or other noncardiac causes of chest pain.

2. Will check amylase and lipase to rule out the possibility of
panereatitis; although the patient's abdominal exam is not
indicative. Will check ESR for possible evidence of acute
inflanrmation, which may pinpoint pericarditis or pleurlsy.

3. Will obtain 2-D echocardiogram with Doppler to evaluate left
ventricular function and to rule out the possibility of pericarditis.
4. A stress test will be arranged on an inpatient basis since the
patient’s recent stress test was done with low exercise and was
Suboptimal in quality. Will review the results of the recent one.
5. Abdominal ultrasound wili be ordered to rule out the possibility
of gallstones or liver disease, which my explain the patient's chest
pain.

6. Also, the suggestion of x-ray of the ribs may be needed.

DICTATED BY: PREDRAG KNEZ, M.D.

PK: aah

D: 09/17/2004 11:08:16
T: 09/18/2004 21:21:59
Job#: 6483166

ce: LUIS S$. ULLOA, M.D.
3360 Burns Road
. Palm Beach Gardens, FL 33410
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On 09/22/2004 At 1353

Patient : MACARI, JOHN R CONSULTATION REPORT

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_ HOCARDIOGRAPHIC REPORT

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Palm Beach Gardens Medical Center
3360 Burns Road, Palm Beach Gardens, Flerida 33410

PT: MACARI, JOHN R. MR#: 000263842 Room: 0341
Date of Service: 9/17/2004 Pat#: 16353732 PYrype: I

DR: EDGAR A. COVARRUBIAS, M.D. MB: 056 ORD#: 1981515
Ordering Physician: 274 LUIS S ULLOA M.D.

ECHO- DOPPLER
INDICATION: Evaluation of LV function, systolic murmur.

INTERPRETATION: M-mode and 2-dimensional tracings of limited quality
revealed mild increased left ventricular internal dimensions witn
septal and anterior wall hypokinesia with an estimated ejection
fraction of about 45% to 50%.

Aortic root is increased with mild thickening of aortic leaflets but
opening well in systole. No arrhythmias or significant obstruction.
Left atrial size is similarly mildly increased on the 2-dimensional
views. No evidence of a pericardial effusion. Right ventricular and
atrial dimensions are in the upper limits of normal.

Doppler study, continuous, pulse-wave, and coler-flow Doppler,
revealed mild mitral and tricuspid regurgitation. There are normal
flow velocities of the outflow tract of the left ventricle.

CONCLUSION: .

1. Mild left ventricular enlargement and hypertrophy with septal and
anterior distal hypokinesia with an estimated ejection fraction of
about 45%. This is a technically limited study.

2. Ollated aortic root with no evidence of aortic valvular disease,
3. Mild mitral regurgitation with mild left atrial enlargement.

4. Mild tricuspid regurgitation.

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D: 09/24/2004 10:04:25
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Job#: 65329018

tc: LUIS S. ULLOA, M.D.
3360 Burns Road
Palm Beach Gardens, FL 33410

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ECHOCARDIOGRAPHIC REPORT

 
 

 

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3360 Burns Road
Palm Beach Gardens, Florida 33410

PT NAME: MACARI, JOHN

MR#: 000263842

DOCTOR: ZBIGNIEW LITWINCZUK, M.D.
MB: 193

DATE: 9/24/2004

CATH#: 4279

REFERRING PHYSICIAN: PREDRAG KNEZ M.D.

PALM BEACH GARDENS HEART INSTITUTE
PALM BEACH GARDENS MEDICAL CENTER
CARDIAC CATHETERIZATION LABORATORY

PROCEDURE PERFORMED; Intravascular ultrasound-guided PTCA and
stenting of the mid left anterior descending coronary artery.

INDICATION:

1. Angina.

2. Positive stress test indicating ischemia in the distribution of
the anterolateral wall and apex.

PROCEDURE: The procedure was performed after completion of
diagnestic catheterization by Or. Knez. The left coronary system was
engaged with a 6-French XB-LAD 3.5 guiding catheter. The patient
received bolus of Angiomax, followed by an Angiomax drip. The left
coronary artery was crossed with a BMW wire, and following this,
intravascular ultrasound was performed, see separate report. Based
on the report of the ultrasound, the lesion in the mid left anterior
descending was predilated with a 3.0 x 20-mm Maverick balloon in 2
positions. Subsequently, the vessel was stented with 3.0 x 24-nm
medicated TAXUS stent and postdilated with 3.0 x 20-mm noncompliant
NC monoRAIL balloon, which produced excellent angiographic result,
resolution of the stenosis by intravascular ultrasound from less than
4 mm squared to more than 6 to 7 mm squared in that area, produced
TIMI 3 flow in the vessel, There was no dissection. The patient
tolerated the procedure well. There were no immediate complications.

IN SUMMARY: Successful intravascular ultrasound~guided PTCA and

stenting of the mid left anterior descending coronary artery with 3.0
x 24-mm medicated TAXUS stent.

RECOMMENDATIONS: Continuation of medical therapy and risk factor
modification per Dr. Knez.

DICTATED BY: ZBIGNIEW LITWINC2UK, M.D.

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3360 Burns Road
Palm Beach Gardens, Florida 33410

PT NAME: MACARI, JOHN
MR#: 000263842
DOCTOR: PREDRAG KNEZ, M.D.

MB:
DATE: 9/24/2004
CATH#: 4279

REFERRING PHYSICIAN: PREDRAG KNEZ M.D.

PALM BEACH GARDENS HEART INSTITUTE
PALM BEACH GARDENS MEDICAL CENTER
CARDIAC CATHETERIZATION LABORATORY

PRIMARY PHYSICIAN: Dr. Ulloa and Dr. Covarrubias.

CLINICAL HISTORY: The patient ia a 75-year-old gentleman with
history of diabetes mellitus, hypertension, coronary artery disease,
status post angioplasty to the left anterior descending and right
coronary artery in May of this year in Fort Lauderdale, who was
referred tor cardiac catheterization after an abnormal stress test
showing ischemia involving the apex and distal inferior wall. The
patient had symptoms of progresgive exertional angina.

PROCEDURES PERFORMED:

1. Left heart catheterization.

2. Selective coronary angiography.

3. Left ventriculography (RAO projection).
4. Right femoral artery angiography.

PROCEDURE DESCRIPTION: After informed consent and conscious sedation ©
with Versed 2 mg and fentanyl 50 meg intravenously as well as local.
anesthesia to the right groin with a 2% lidocaine solution, 6~-French
arterial sheath was placed to the right femoral artery without
difficulties. Following the placement of the sheath, the left heart
catheterization was performed in the regular projections using the
following catheters: A 6~-French JL4, 6-French JR4, and 6-French
angled pigtail catheters. Following the completion of left
ventriculography, right femoral artery was imaged in the RAO
projection. The patient then underwent intravascular ultrasound to
the left antexior descending artery and eventually angioplasty of the
left anterior descending by Dr. Litwinczuk of interventional
cardiology. . :

HEMODYNAMICS; Left ventricular pressure was 141/21. Aortic pressure
was 139/53 mmlig. No pressure gradient across the aortic valve noted.

CORONARY ANGIOGRAPHY; Coronary angiography was performed in the
regular projections using the following catheters: A 6~French JL4
and 6-French JR4 catheters.

LEFT MAIN CORONARY ARTERY: The left main coronary artery is a large
artery which bifurcates into the left anterior descending and left
circumflex coronary artery. The left main corenacy arfery has some
mild diffuse disease but no hemodynamically significant stenosis,

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LEFT ANTERIOR DESCENDING ._LERY: The left anterior descenu_ug artery
is a very large artery which wlaps around the apex. In tho proximal

portion prior to the stent, there appears to be a 60% to 70% focal
calcified stenosis. The stent noted in proximal-to-mid portion was
patent with mild diffuse in-stent restenosis. Midportion of the left
anterior descending artery has moderate diffuse disease with no
hemodynamically significant stenosis. Distal vessel has mild diffuse
disease. The first diagonal branch and second diagonal branch are
moderate-sized vessels with approximately 308 ostial stenosis each.

LEFT CIRCUMFLEX CORONARY ARTERY: The left circumflex coronary artery
is a large artery which gives rise to a small obtuse marginal 1 and a
very large obtuse marginal 2. Second obtuse marginal branch is a
very large vessel with ostial 50% stenosis. First obtuse marginal
has mild-co-moderate diffuse disease.

RIGHT CORONARY ARTERY: The right coronary artery is a large,
dominant artery. In the proximal portion, there was mild diffuse
disease. In the midportion, there was moderate diffuse disease, at
most 50% mid=to-distal stenosis. In the distal portion, there was a
stent, which is widely patent without residual stenosis. The artery
bifurcates into the right posterior descending artery and

posterolateral branch, which are both diffusely diseased and small
vessels.

LEFT VENTRICULOGRAPRY: Left ventriculography was performed in the
RAO projection with a 6-French angled pigtail catheter.

The left ventricle appears to be mildly dilated. There appears to be
severe hypokinesis of the distal anterior wall, apex, and distal

inferior wall. The left ventricular ejection fraction is estimated
at 45%.

RIGHT FEMORAL ARTERY ANGIOGRAPHY: Right femoral artery angiography
was pexformed in the RAO projection via a pre-existing arterial
sheath. Common right femoral artery as well as superior portions of
superficial and deep femoral arteries have mild diffuse disease.

IMPRESSIONS :

1. Coronary artery disease, 3-veagel disease, with continued patency
of the stents in the proximal-to-mid left anterior descending artery
and dietal right coronary artery, moderate stenosis of the obtuse
marginal branch 2, and moderate-to-severe stenosis of very proximal
left anterior descending artery prior to the stented site.

A. AD: Proximal 60% to 70% focal stenosis prior to the stent,
patent stent in proximal-to-mid vessel, and moderate diffuse disease
in mid vessel. D1 and D2 with 50% ostial stenosis each, apparently
moderate-sized vessels.

B. LEPT CIRCUMFLEX OM2: large vessel with a 50% ostial stenosis,

C. RIGHT CORONARY ARTERY: Moderate diffuse disease in the mid
vessel with, at most, 50% stenosis in the mid-to-distal portion and
patent stent in the distal right coronary artery.

2. Elevated left ventricular pressure, left ventricular
end-diastolic pressure, and aortic pressure. No pressure gradient
across the aortic valve.

3. Mildly dilated left ventricle with severe hypokinesis of distal
anterior wall, myocardial apex, and distal inferior wall. Left
ventricular ejection fraction is estimated at 45%.

4. Mild peripheral vascular disease demonstrated along the course of

common tight femoral artery and superior portions of superficial and
deep femoral arteries.
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RECOMMENDATIONS; The patient has moderate-to-sevare stanocisc in the
proximal left anterior descending artery, which would explain his
ischemia of the apex and distal inferior wall, supplied by the left
anterior descending artery, which is a wrap-around vessel. At this
point, intravascular ultrasound followed by angioplasty if necessary
4s recommended. Dr. Litwinczuk of interventional cardiology was
consulted.

DICTATED BY: PREDRAG KNEZ, M.D.

PK; jJmm

D: 09/24/2004 11:20:27
T: 09/25/2004 06:59:22
Jobe: 6529971

cc: EDGAR A. COVARRUBIAS, M.D.
3360 Burns Road
Palm Beach Gardens, FL 33410

LUIS §. ULLOA, M.D.

3360 Burns Road

Palm Beach Gardens, FL 33410
ELECTRONICALLY SYGNED/RELEASED BY DR. KNEZ M.D., PREDRAG
On 10/11/2004 At 1633

 
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Palm Beach Gardens Medical Center
3360 Burns Road, Palm Beach Gardens, Florida 33410

PT: MACARI, JOEN R. MR#: 000263842 Room: 0341
Date of Service: 9/17/2004 Pat#: 16353732 pType: I
DR: PREDRAG KNEZ, M.D. . MB: 247 ORD#: 1981517

Ordering Physician: 274 LUIS 3 ULLOA M.D.

PROCEDURE: Adenosine Cardiolite stress test.

CLINICAL HISTORY: The patient is a 75-year-old gentleman with a
history of coronary artery disease, previous angioplasty who
presented to Palms Beach Gardens Medical Center with right-sided
chest pain. The patient is being evaluated for evidence of
adenosine-induced ischemia.

PRESENT MEDICATIONS: Lopressor, Avandia, Norvasc, Zetia, Lipitor,
and Plavix.

RESULTS: The patient's baseline heart rate was 68 beats per minute
with a baseline blood pressure of 140/70 mmuAg. The, patient was

infused with a tetal of 60 mg of adenosine over a 4 minute infusion.

After the completion of the 2nd minute of adenosine infusion,

Cardiolite was injected. The maximal blood pressure during the

adenosine infusion was 140/64 mmHg with a maximal heart rate of 85

beats per minute. The patient experienced shortness of breath but no
chest pain.

The baseline echocardiogram showed sinus rhythm at 68 beats per
minute. The ORS complex leads V1 through V3 suggest a previous
anteroseptal myocardial infarction. The electrocardiogram during the
adenosine infusion on the recovery period showed no ischemic ST-T
changes.

IMPRESSIONS:

1. Negative adenosine stress electrocardiography for evidence of
ischemia.

2. Normal heart rate and blood pressure response to adenosine
infusion.
3. No chest pain or arrhythmias during adenosine infusion recovery.
4. MNuclear scintography is reported separately.

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T: 09/19/2004 14:32:28
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PT ; MACARI, JOHN A Page 1
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EXERCISE STRESS TEST
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$3$6U Burns Road, Palm Beach Gardens, Florida 334]
EY CIsE STRESS TEST A

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ce; EDGAR A. COVARRUBIAS, M.D,
3360 Burns Road
Palm Beach, FL 94538

LUIS.S. ULLOA, M.D.
3360 Bucns Road
Palm Beach Gardens, FL 33410

ELECTRONICALLY SIGNED/RELEASED BY DR, KNEZ M.D., PREDRAG
On 09/22/2004 At 1400

PT : MACARI, JOHN R Page 2
Ord: 1981517
Printed on 10/12/2004 at 1349

EXERCISE STRESS TEST
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ASE P.02-cr-14084-KAM Boctment53 “Entered on FLSD Docket 05/23/2005 ‘Page 95 of 106
ad Nae

Palm Beach Heart Clinic
Board Certified in Cardiology and Nuclear Cardiology

_ Predrag Knez, M.D., F.A.C.C.

Dete: October 13, 2004.

PATIENT: MACARI, JOHN

Primary physician: L. ULLOA, ALD,

Follow up visit

Clinical history

75 y.0. geaticaan with hinory of CAD, hypertension, hypeclipidemie and diabetes is coming for ffu after
recent PTCA to mid LAD. The patient originally had PTCA/stents to proximal LAD and RCA in Ft.
Lauderdale but haa not noticed any improvement. He was admitted to PBGMC with CP and had repeat
stress-test indicating LAD territory ischemia. Subsequent cathteterization revealed severe long stenosis of
mid LAD beyond the atent (confirmed by IVUS). He underwent PTCA/stenting of mid LAD by Dr.
Litwincaik Since the PTCA, the patient actually reports worsening of his symptoms with progressive
dyspnea with even minimal activities. Denies SOB or CP at rest but would consistently get ont of bresth
with 1/3 of the activities he used to do prior t mast recent PTCA. Denies PND or orthopnea. Denies
Ror cee are Tere His LV function was mildly reduced end estimated w 45 % by echo

Medications: ASA 8] mg QD, HCTZ 25 mg QD, Glucophage 500 mg BID, Adalat 60 mg QD, Liipnor 20
mg QD, Lopressor 50 mg BID, Zestril 10 mg BID, Avandia 4 mg QD, Plavix 75 mg QD, Glucotral 5 mg
Review of systems:

General: no weight gain of weight foas. No fevers or night sweats, no chilla, no generalized weakness,
Cardiovascular: #3 above; Respiratory: shortness of breath with minimal activities but none at reat, 0
cough or wheezing, no hemoptysis G/; occasional! abdominal pain/beartbum related to GERD, no diarrhea
or constipation Gerdiourinary: vegative; Musculoskeleial. positive for asteoarthritic pains; Netsrological:
negative; Skin: no skin rashes; Lymphatic: no lymphadenopaty Visual: no recent reduction in visual acuity

noted

Parsical imation:

Well developed, moderately obese elderly gentleman with no signs of ecute distress.
HR: 66 bam RR 18 BP; 130/58 Weight: 230.5 ths

HEENT: PERLA, EOMI, no throat, nose or ear ehnormalitics

NECK: supple, no JVD or carotid bruits, no thyroidamegaly or lymphadenopathy

CHEST: ‘without deformities

HEART: Normal beart sounda. 2/6 sysinlic murmur along the LSB. No rubs or gallops. PMI is not palpsbtc
LUNGS: Gless to suscuitation and percussion. No whecars. No accessory muscles are being used.
ABDOMEN: benign, no organomegsly, normal bowel scunds, no inguinal lymphadenopathy

EXTREMITIES: without edema, R gram w/o hematama or cochymosis. Peripheral pulees 1+

NEURO: AO x3. Normal] cognitive function and coordination. No focal sensory or motor deficits. Normal
impression/dlaguoses:

i. Corouary artery disease, s/p recent stenting of mid LAD, clistically worse since FTCA

2 Hypertension, well-controlled om medical therapy

3. Hyperlipidemia

4. Dishetes mefitus with muitiple complications

§, Gastroesophageal reflux dixease

6. Obesity
The patient reports worsening of his SOB since the PTCA. He had no recurrence of CP. Possibility of carty
stent occlusion vs additional non-corrected stenosis needs to be excluded. Other possibilities including
snemia of electrolyte imbalance are Jeas likely. Will arrange « repeat cardiac catheterization to reevaluate
patency of newly placed stent and dogree of in-stent restenosis reported on previous cardiac
comtterization. Resiuction in activities and continuation of preseut medical therapy recommended in the

Resurn for fa post cardiac catheterization scheduled for next week:

Te
| @86227 95 02-cr-1BGB4-KARFECOUENGERIGS 7ESREFERF on FLSD Docket 05/23/2005 Pat S%8 of 18

Palm Beach Gardens Medical Center
3360 Burns Road, Poim Beach Gardens, Florias 33410
DIAGNOSTIC ' AGING REPORT OUT PATIENT - I

Patient: MACARI, JOHN R.

MR#: 000263842 Room:

Imaging: 4279 . Pats: 16497513
Emam Date: 12/10/2004 . Prype#: 0
Order $2: 2267941 Ord: 82623
attd:

REASON FOR EXAM:SOB-LEG PAINIORDER NOTE byNWK]

Exam: LOWER EXTREMITY ANGIOGRAM

FINDINGS: CT angiography of the lowez extremity is performed. No
comparisons currently available.

The common femoral erreries demonstrate atherosclerotic change
bilaterally. The profunda arteries are patent bilaterally. The left
profunda axtery demonstrates significant atherosclerotic change and
origin stenosie. Moderate atherosclerotic disease soted withir the
Superficial femeral and profunda arteries bilaterally. Miid stenosis
noted within the right superficial femoral artery. The left
s\Vipecficial femoral artery demonstrates mild stenosis with moderate
stenosis within the distal superficial femorel artery in the region
of the adductor canal. Mild to modexate etonosis of the left
popliteal ane mild stenosis of she sight popliteel artexy identified.
the trifurcation vessels are patent bilaterally with in-line flew to
the Gozsalis pedis and plantar arch.

IMPRESSION;

BILATERAL ATHEROSCLEROTIC CRANGES KITH NOTE OF STENOSES WITHIN THE
SOPERYICIAL FEMORAL AND POPLITEAL ARTERIES AS DESCRIBED.

DICTATED SY: YUVRAJ SINGH, M.D.

YS:saf

Ds 42/10/2004 19:29:25
T: 12/20/2004 13:40:35
Jobs: 6977835

ELECTRONICALLY SIGNED/RELERSED BY DR. YOUNG M.D., BRIAN J. for SINGH M.D., YUVRAS
On 12/21/2004 At 0932

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Ord: 2267941 Page: {¢ OF 4)
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Palm Beach Gardens Medical Center
3360 Burns Road, 2 m™ Beach Gardens, Florida $2410
DIAGNOSTIC ING REPORT OUT PATIENT - I

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Patients MACARI, JOUN R.

MRE: 900262842 Room:

Imaging: 42795 Paté: 16497513
Exam Date: 12/10/2604 ; Ptypes: 0
Order #: 2267690 , Ord: 82623
Attd:

REASON FOR EXAM:SOB,LEG PAIN(ORDER NOTE bynwK]

Exam: CT ANGIOGRAM ABDOMEN AND PELVIS

FINDINGS: Imaging abdorsen and pelvis performed following she
administration of nonionic intraverous contrast with study optimized
to evaluate the grterial system. No comparisons currently available.

Respiratory motion present at the lung bases. The most cephalad
aspect of tne liver and spleen are out of field of view of the study.

Facty infilesation of the liver dees appear present.
Post-cholecystectomy clips identified. No definite splenic or
adrenal lesion appreciated. Rortoiliae vascular calcific change
identified. No hemodynamically significant iliac arterial in-Llow
stenosis identified. Large 1.83 x 1.4 om calcification noted within
the dependent aspect bladder consistent with a Diaddex caleulus. No
pathologic adenopathy or soft tissue mass appreciated. The celiac
axis and superior mesenteric artery origins are patent. The renal
artery origins are not optimally visualized. Mild to moderate
stenoses of the renal arteries carmmot be excluded. If clinically
relevant, a dedicated MRA of the renz) arteries ox CTA engiogxam
focused at this level could be considered. The inferior mesenteric
artery does appear patent with a possible origin stenosiz. No free
aiz, free fluid or inflammatory fat stranding identified. Seatrared
diverticula do appear present within the ascending and descending
colon. The mid to distal loft uretez demonstrates focal dilation,
which is of uncertain etiology but may relate to priexs infiammatoxy
of infectious etiology. Mild prominence of the left pelvocaliceal
system and ureter proximal to the focal dilation is adcitionally
psesent. Findings may net be of functional significance. Furthe=
evaluation could potentially be provided with a renal Lasix scan if
clinically relevant.

IMPRESSION:
1. FATTY INFILTRATION OF THE LIVER.

2. MILD PROMINENCE OF THE PELVOCALICEAL SYSTEM AND LEFT URETER.
MORE DISTAL MID URETER DEMONSTRATES FOCAL DILATION. FINDINGS MAY
RELATE TO PRIOR INFLAMMATORY OR OBSTRUCTIVE PROCESS. NO DEFINITE
OBSTRUCTION ON THE CURRENT STUDY. ADDITIONAL IMAGING COULD BE
CONSIDERED IN TEE APPROPRIATE CLINICAL SETTING. A LARGE

NONOBSTRUCTIVE BLADDER CALCULUS PRESENT. (sfio*

3. AORTOILIAC ATHEROSCLEROTIC DISEASE WITH NO SIGNIFICANT IDcAC fa fh

IN-FLOW STENOSIS. pe

4. RENAL ARTERY AND INFERIOR MESENTERIC ARTERY ORIGINS ARE NOT [ee f

PT : MACARI, JOHN R Dictated : (DOCKAME 1 YA \~
Ord: 2267890 Page: [% OF #)

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Palm Beach Gardens Medical center
3360 Burns Road, Palm Beach Gardens, Florida 3341C
DIAGNOSTIC G REPORT OUT PATIENT -

OPTIMALLY VISUALIZED BUT ARE PATENT. MILD TO MODERATE NARROWING OF
THE RENAL ARTERY ORIGINS MAY BE PRESENT. NARROWING OF THE INFERIOR
MESENTERIC ARTERY ORIGIN MAY BE PRESENT AS WELL. FURTHER
CHARACTERIZATION OF THE RENAL ARTERIES COULD BE PROVIDED WITH A
DEDICATED STUDY IF CLINICALLY RELEVANT.

DICTATED BY: YUVRAJ SINGH, M.D.

YS:saf

D: 12/20/2004 18:21:22
T: 12/10/2004 19:35:35
Jobs: 6977872 ,

ELECTRONICALLY SIGNED/RELEASED BY DR. YOUNG M.D., BRIAN J. for SINGH M.5., YUVRAT
On 12/11/2064 At 0922 ;

&T :; MACARI, JOHN R Dictarved + [SOCNAME J
Ord: 2267890 Page: [# OF #}
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DIAGNOSTIC IMAGING REPORT

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Nephrology Associates, P.A.

Diseases of the Kidney and Hypertension
Jack Waterman, D.O., F.A.C.O,L * Kenneth A. Rappaport, D.0., ACP, « Jacquelynn T. Swan, M.D.

January 3, 2005

Luis S. Ulloa, M.D.
3370 Burns Road =~ Suite #105
Palm Beach Gardens, Florida 33410

Ra: °. . car
Dear Dr. Ulloa:

Mr. John Macari was seen today in our office now
approximately three and one-half months after his
hospitalization at Palm Beach Gardens Medical Center
secondary to right-sided chest pain that required a CT scan
of the chest with intravenous iodine to rule out a dissecting
aortic aneurysm, The test was unremarkable.

The patient is scheduled to be seen by his cardiologist Dr.
Knez, later this week due to complaints of intermittent ~~
claudication, In addition, he is schaduled to be seen by his
urologist, Dr. Jacobs, in the near future.

The patient is markedly interested in decreasing the number
of medications he is currently taking.

PHYSICAL EXANINATION:

On examination today, the patient’s blood pressure is 118/52;
pulse is 80; his temperature is 98.1F. CARDIOVASCULAR: The
heart has a regular rate and rhythm. PULMONARY: ‘The lungs
are Ciear to auscultation. EXTREMITIES: No lower extremity
edema was present.

LABORATORY :

1. |The patient’s creatinine remaings stable at 1.6.

2. BUN is stable at 36.

3. Blood sugar is 140.

4. Urinalysis was remarkable for the presence ef 6 to 10

RBCs per high-powered field.

2543 Burns Road, Patm Beach Gardens, FL. 33410 Telephone: 561-627-6454 » Facsimile; 561-625-4374
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Luis Ss. Ulloa, M.D,
Rea: John R. Macari
January 3, 2005
Page Two

 

IMPRESSION:

i. Stable chronic renal insufficiency that is most likely
secondary to nephrosclerosis in a patient who has a
history of hypertension and is maintained on an ACE
inhibitor. The patient has a possible component of mild
intravascular volume completion. He is on
hydrochlorothiazide. He has no history of diabetic
retinopathy. He has only an approximate six-year
history of type 2 diabetes mellitus, making diabetic
nephropathy unlikely.

2. Probable peripheral vascular disease.

3... Mild normocytic normochromic anemia.

4, Coronary artery disease; the patient is status post two
previous myocardial infarctions and previous
percutaneous transluminal coronary angioplasty.

PLAN:

1. The patient is adamant about reducing the number of his
medications. I have, therefore, recommended he reduce
his Adalat from 60 to 30 mg daily. The patient will be
seen by Dr. Knez in the near future, and hopefully this
medication can be discontinued if his bloed pressure
remains under good control.

2. From my standpoint, I wovld like to have the patient
obtain a renal ultrasound, repeat a urinalysis and
culture, spot urine for electrolytes, urine for
eosinophils, serum protein electrophoresis, and urine
immunoelectrophoresis, as well as a 24-hour urine for
protein/creatinine clearance.

3. The patient will be seen by Dr. Jacobs in the near
future, who may address his microhematuria.

4. In addition, the patient is in need of an annual

— —s ophthalmological examination as his last examination was

performed more than one year ago.

~—_5, We will see the patient back for reevaluation in one

month.

Sincerely yours,

? —
Jacquelynn T. Swan, M.D. hea
JTS: 1b:46161

2543 Burna Road, Palm Beach Gardens, FL 33410» Telephons: 561-627-6454 « Facsimile: $61-625-4374

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Quest
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QUEST OTAGNOSTICG INCORPORATES
1 CLIC? SERVIER 806.945.3020

APR-25-28085 89:23 From:DR L. ULLOA

56169149665

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PATIENT INFORMATION
WACARI , JOHN R

DOB: 06/24/1926 Ages 76

To: 7727813393

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SPECIMEN: MI7083377T IDs MAO92 12823 ;
REQUISITION: 0008345 PHONE: 561=743~1582 LUIS ULLOA MO i
LAB REE NO: ep BL
3370 BOANS RO STE 105
COLLECTED; 02/08/2005 10;00 PALM BEACH GARD, FL
RECEIVED: 02/08/2005 20:34 it
REPORTED: 02/10/2005 09:23 A
COMMENTS: FASTING ;
Teast Nawe In Range Out of Ranga References Range Lab
LIPID PANEL
TRIGLYCERIDES \O = 106 <150 MG/DL O08
CHOLESTEROL, TOTAL 165 M5 €200 MG/DL @ne
HDL, CHOLESTEROL oS 64 > OR = 40 MG/DL Ons
LDL-CHOLESTEROL Yu 60 €130 MG/DL (CALC) obs
CHOL/HDLC RATIO 2.3 <5.06 (CALC) QD5
COMPREHENSIVE METABOLIC ae
PANEL QDs
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UREA NITROGEN | pe aay: w
CRRATINING 2600 (00? ET
BUN/CREATININE RATIO. 6-25 (CALC)
SODIUM 139 139-146 MMOL/L .
POTASSIUM SO 4.9 39.5°5,.3 MMOL/L '
CHLORIDE . 103 98-110 MMOL/L
CARAON DIOXIDE 22 21-33 MMOL/L a
CALCIUM 9.2 8.5-10.4 MG/DL ’
PROTEIN, TOTAL 7.2 6.0-8.3 G/DL é
ALBUMIN 4.2 3.2-4¢.6 G/DL ’
GLOBULIN 3.0 2,.2-4.2 G/DL (CALC)
ALBUMIN/GLOBULIN RATIO 1.4 0.82.0 (CALC)
BILIRUBIN, TOTAL 0.7 0.2-2.5 MG/DL
ALKALINE PHOSPHATASE 61 20-225 U/L
Ast 26 2250 U/L
ALT 40 2-60 U/L
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APR-25-2085 89:23 From:DR L. ULLOA 5616914665 To: 7727813393 P.377

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Michael A. Jacobs, M.D., P.A. wie & <j
at

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Bound Certified wu *
Americal Board of Urology a an

January 10, 2005 WW
Mr. John Macari ce
133 Hampton Circie

Jupiter, FL 334548
Dear Ichn:

1

 

A note te say that I hope you are doing Well. As we diedussed in
August, during the workup for your histoxy of bleed in @ urine,
I found you to have a atone in the bladder, as well as wha appears
to be an early polyp along one of tha walle of the
Something that may ba a malignancy and ness to be removed| and eent
to the pathologists for analysis.

I understand hat you have been in tha hospital for madicdl igaues
Over the last coupla of monthe, I hope yeu are doing batter, and
are now able te schedules with mwa, the prodedure, which would be an
Overnight stay,

     
 
  

coordinate date with ms.| Looking
- Again, hoping this Zinda you wall,

Please call the office to
forward to hearing from yo

 
 
   

8 Ulloa,/
GG: Pyedrag Kingz

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MACARY , JOHN &
QUEST DIAGNOSTICS INCORPORATED ORDERING e1¥OTCTAN :
DOB: 06/24/1926 Age: 78 ULLOA,LUIS 8
REPORTED: 02/10/2005 09:23 GENDER! M
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Test Naze In Range Gut of Range Reference Ranga Lab
CBC (INCLUDES OIFF/PLT) (Continued)
RDW 14.1 11.0=-25.0 ¥
PLATELET COUNT wbirdee 140-400 TROUS/MCL
ABSOLUSE NEUTROPHILS 2292 1500-7800 CELLS/MCL
ABSOLUTE LYMPHOCYTES 976 85023900 CELLS/MCL
ABSOLUTE MONOCYTES 604 200-950 GELLS/MCL
ABSOLUTE ELOSINOPHILS 104 158500 CELLS/MCL
ABSOLUTE BASOPHILS 24 0#200 CELLS/MCL
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BASOPHILS 0.6 $37

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CULTURE, THROAT - wr
CULTURE

      
     
 
   
   
    
         

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ORDERED TEST: CULTURE, THROAT

MICRO NUMBER; 05078439
TEST STATUS: FINAL
SPECIMEN SQURCR: THROAT

SPECIMEN CONMENSS; ADEQUATE
RESULT: GROWTH OF NORMAL OROPHARYNGEAL

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Parforming Laboratory Information:
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teberuhe yy Ulcactoce ANTHONY OIMONETTI, MD

  

MACART, JOHN A = MY7083371 Paga 2 - End of Report

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P.B.G, Mameat Orica Builpine
3970 Burns Rloap * Sure 106
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